       Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 1 of 97




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


ROBERT (BOB) FORMBY, on behalf of
himself and all others similarly situated,
                       Plaintiff,            CLASS ACTION

                                             JURY TRIAL DEMANDED
vs.

Deloitte & Touche, LLP and Deloitte, LLP,
                     Defendants.             No.




                             CLASS ACTION COMPLAINT



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Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 2 of 97




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                              1
              Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 3 of 97




                                                 TABLE OF CONTENTS

I.      INTRODUCTION ................................................................................................................... 6

II. JURISDICTION AND VENUE ............................................................................................ 14

III.       THE PARTIES................................................................................................................... 15

     A. Lead Plaintiff. .................................................................................................................... 15

     B. Defendants. ........................................................................................................................ 15

     C. Relevant Non-Parties. ........................................................................................................ 16

IV.        FACTUAL BACKGROUND AND ALLEGATIONS OF FRAUD ................................. 18

     A. Southern’s Fraud. ............................................................................................................... 18

        1. The May 2014 COD was of utmost importance to Southern and its shareholders. ....... 18

        2. Southern knew early on that it was not going to make the May 2014 COD and that its

        cost overruns would be borne by its shareholders. ............................................................... 21

        3. Southern repeatedly misled its shareholders and made materially false statements and

        omitted material information about the Kemper Plant’s cost and completion date. ............. 30

     B. Deloitte’s Responsibilities as Southern’s Auditor. ............................................................ 55

        1. Deloitte’s Financial Reporting and Generally Accepted Accounting Principles. .......... 55

        2. Regulatory Accounting. ................................................................................................. 57

        3. The Independent Role of the External Auditor. ............................................................. 57

        4. Deloitte was obligated to follow PCAOB standards when conducting its audits of

        Southern’s financial statements. ........................................................................................... 60


                                                                        2
               Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 4 of 97




        5. Deloitte was required to exercise due professional care and professional skepticism

        when auditing Southern’s financial statements..................................................................... 62

        6. Deloitte was required to understand Southern’s business and to identify and respond to

        red flags affecting Southern’s financial statements. ............................................................. 63

        7. Deloitte was responsible for obtaining sufficient appropriate evidence to afford a

        reasonable basis for its audit report of Southern’s financial statements. .............................. 70

        8. Deloitte was required to review Southern’s quarterly statements on Forms 10-Q filed

        with the SEC. ........................................................................................................................ 72

     C. Deloitte’s audits of Southern’s 10-Ks were “no audits at all.” .......................................... 73

     D. Deloitte failed to take required action concerning material misstatements in Southern’s

     10-Qs. ........................................................................................................................................ 80

     E. Deloitte revealed relevant auditing procedures to the investing public for the first time in

     February 2020. .......................................................................................................................... 82

     F. Deloitte’s false and misleading statements and omissions resulted in “no audit at all.” ... 86

V.      SAFE HARBOR ................................................................................................................... 88

VI. PRESUMPTION OF RELIANCE ........................................................................................ 88

VII.       CLASS ACTION ALLEGATIONS .................................................................................. 90

VIII. CAUSES OF ACTION ...................................................................................................... 92

IX. PRAYER FOR RELIEF ....................................................................................................... 95

X.      JURY DEMAND. ................................................................................................................. 95




                                                                            3
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 5 of 97




        Lead Plaintiff, Robert (Bob) Formby, by and through his undersigned counsel, individually

and on behalf of a class of similarly situated persons and entities, bring this federal securities class

action against Defendants Deloitte & Touche, LLP and Deloitte, LLP (collectively “Defendants”

or “Deloitte”), on behalf of himself and on behalf of a class consisting of all persons and entities

who purchased, acquired, or otherwise held, or sold, the publicly traded securities of The Southern

Company (“Southern”) between May 10, 2013 to February 20, 2020, inclusive (the “Class

Period”), and who were damaged thereby. Lead Plaintiff’s and the Class’s claims arise under

Sections 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”), Rule 10b-5 promulgated

thereunder, and Section 17(a)(1)-(3) of the Securities Act. 1

        This case arises out of the abandonment of Southern’s “clean coal” electric power plant in

Kemper, Mississippi (“the Kemper Plant”) in 2017. Deloitte was Southern’s auditor during the

times relevant to this lawsuit, and as such, had a duty to act as gatekeeper ensuring Southern’s

accurate reporting of information to the investing public. Instead of doing so, Deloitte intentionally

and recklessly violated its professional responsibilities, failed in its role of gatekeeper, and

deceived investors about Southern’s accounting for and expected completion of the Kemper Plant.

Deloitte’s untrue statements and omissions of material facts concerning the Kemper Plant operated

as a fraud and deceit upon plaintiff and others similarly situated in connection with their purchases

and value of Southern securities during the class period.




1
  Presently, it does not appear that the Eleventh Circuit recognizes a private right of action under
Section 17(a). See generally U.S. S.E.C. v. Big Apple Consulting USA, Inc., 783 F.3d 786, 797
(11th Cir. 2015). The Supreme Court has not ruled on this issue yet and Plaintiffs bring this cause
of action to preserve it for appeal.

                                                    4
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 6 of 97




       Southern had been permitted to construct the Kemper Plant based on its assurances that it

would complete the construction project by May 2014 and do so within a budget of $2.88 billion.

Based on those assurances, Southern was provided hundreds of millions of dollars of federal tax

credits. Southern and Deloitte knew well before May 2014 that the project was woefully behind

schedule and over budget, but omitted material information reflecting these realities and falsely

represented that the plant would be built within budget and on time so that Southern could maintain

the tax credits, receive hundreds of millions in Department of Energy grants and other federal

incentives, hide its losses from the investing public, inflate its reported assets, and deceptively

insulate its stock from loss that would have resulted from accurate reporting. As deadlines came

and went, Deloitte and Southern intentionally continued to significantly under-report the losses

and over-state the progress and completion date of the Kemper Plant. After years of trickling out

misleading information about the project’s finances and progress, and omitting other material

information, Southern was sued in January 2017 by certain shareholders for misleading them about

the Kemper Plant. Within a few months thereafter, Southern abandoned its effort to build the

necessary components of its “clean coal” facility at the Kemper Plant altogether and reported losses

totaling over $3 billion dollars on the project—losses that Southern and Deloitte had known about

long before but failed to timely and accurately report.

       Southern’s illegal acts led to civil lawsuits against Southern and certain Southern

executives and employees (“Southern Parties”) and resulted in several settlements. The role of

Deloitte in this scheme, however, was not known until recently. This lawsuit addresses Deloitte’s

intentional and reckless reporting of false material information and omission of material

information to the investing public about the ill-fated Kemper Plant.




                                                  5
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 7 of 97




         Lead Plaintiff’s allegations concerning matters other than himself and his own acts are

based upon the investigation conducted by and through counsel. The investigation included,

among other things, the review and analysis of: (i) public statements made by Deloitte; (ii)

transcripts, press releases, news articles, earnings calls, and other public statements issued by or

concerning Southern and Mississippi Power Company (“Mississippi Power”) (and together with

Southern , the “Company”); (iii) reports and other documents filed publicly by Southern with the

U.S. Securities and Exchange Commission (“SEC”), including Deloitte’s audit reports; (iv)

testimony and other information submitted to the Mississippi Public Service Commission

concerning the Kemper Plant; (v) documents publicly available from the class action filed in the

Northern District of Georgia, Monroe County Employees’ Retirement System et al. v. The Southern

Company et al., Case No. 1:17-cv-00241-WMR (N.D. Ga.); (vi) Vinyard v. Thomas Fanning et

al., Case No. 1:17-cv-00725-MHC (N.D. Ga.); (vii) regulatory orders, associated filings, and

testimony; and (viii) other publicly available information.

I.       INTRODUCTION

         1.     Deloitte’s audit practice is the largest of the “Big 4” accounting firms that audit

electric public utilities in the United States. For years, Deloitte has represented itself as one of the

foremost experts in the world in assisting and auditing energy projects. Deloitte is the leading

auditor of the power and utilities sector, providing audit services to 55 percent of the Fortune 1000

power and utilities companies. During all times relevant to this Complaint, Deloitte acted as the

independent audit firm of Southern and its subsidiary utility companies, including Mississippi

Power.

         2.     Southern is holding company that owns four public utility companies, the Southern

Power Company (“Southern Power”), and other direct and indirect subsidiaries. The four

traditional public utility companies—Alabama Power Company, Georgia Power Company, Gulf

                                                    6
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 8 of 97




Power Company, and Mississippi Power Company—are vertically integrated utility companies,

providing electric service in Southeastern states.

        3.      Electric public utilities are, by definition, monopolies. In the Southern service areas,

Southern is the sole provider of electricity to commercial and consumer customers. Because of this

unique situation, Southern’s electric rates are regulated by outside governmental agencies—in this

case, the Mississippi Public Service Commission (“MPSC”). To recover the prudent costs of its

operations and a return on its capital (i.e., profit), Southern must file a rate case with the MPSC,

who decides whether to approve Southern’s proposed rates, based on a variety of factors. Any

costs that the MPSC determines cannot be recovered from Southern’s rate payers (i.e., Southern’s

customers), are necessarily funded by Southern’s shareholders.

        4.      Public utilities are generally required to follow Generally Accepted Accounting

Practices (“GAAP”). They are also required to follow Regulatory Accounting that, at times, differs

from GAAP for non-regulated companies. For example, Regulatory Accounting recognizes a

concept that electric utilities have only two sources of funding for operations: (1) electric rates that

a utility charges to and recovers from customers; and (2) shareholder expenses (i.e., any amount a

utility is not permitted to recover from its customers for any reason). While GAAP requires a

Company to correlate revenue and expenses to the most directly linked time and activity,

Regulatory Accounting requires a company to correlate the timing of revenue and expenses with

the rates approved or disapproved by public service commissions.

        5.      In short, when a public service commission rejects a company’s bid to recover

expenses from its ratepayers, the company must record those expense in its financial statements as

losses and disclose those expenses as losses to its shareholders in a timely manner after its bid to




                                                     7
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 9 of 97




recover those expenses is rejected. GAAP does not permit a company to defer those losses and

record them in subsequent quarters.

        6.      An independent auditor’s failure to abide by these principles can have disastrous

consequences to shareholders. And that is exactly what happened here.

        7.      As the first “clean coal” plant in Mississippi, and one of the first in the United

States, the Kemper Plant was supposed to prove that it was possible to produce clean electricity

from dirty coal by turning lignite coal—one of the dirtiest types of coal with the lowest energy

potential—into clean synthetic gas that could be used to power the plant (a process commonly

referred to as “coal gasification”). It was a large and highly visible undertaking that was supposed

to be a model for future coal-based power generation and help reinvigorate the dying coal industry.

It was also set to bring thousands of much needed jobs to Mississippi, the nation’s poorest state.

        8.      Deloitte and Southern were fully aware that a key to the success of the Kemper

Plant was Southern’s ability to keep the project on time and on budget. To do this, the Kemper

Plant needed to achieve a commercial operation date (“COD”) of no later than May 11, 2014. If

timely constructed by the COD, the Kemper Plant would qualify for nearly $700 million in federal

incentives, including $412 million in investment tax credits and $270 million in clean coal power

initiative funds.

        9.      Conversely, Southern’s failure to meet budget and the May 2014 COD would have

disastrous consequences to the project and ultimately Southern’s shareholders. First, the MPSC,

which approved the Kemper Plant, imposed certain restrictions, including a cap of $2.4 billion

(later increased to $2.88 billion), on the amount of construction costs that the Company could

charge to ratepayers. This meant that Southern’s shareholders would foot the bill for any costs

exceeding $2.88 billion. Second, the Company’s failure to achieve COD would result in the loss



                                                  8
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 10 of 97




of hundreds of the nearly $700 million in federal incentives, including government grants, tax

incentives, and loan guarantees (including more than $270 million in clean coal power initiative

funds and $412 million in federal investment tax credits—much of which Southern was required

to repay). Third, the Company had a deal with South Mississippi Electric Power Association

(“SMEPA”), whereby SMEPA deposited $275 million in exchange for a 15% ownership interest

in the Kemper Plant, which was repayable with interest in the event the Kemper Plant was not

completed on time. (SMEPA later cancelled the deal due to project delays and Southern was

required to repay SMEPA’s deposit plus approximately $26 million in interest). 2 Fourth, delays

would jeopardize the Company’s agreement with Treetop Midstream Services, LLC (“Treetop”),

which agreed to purchase the CO2 byproduct generated by the Kemper Plant and construct a

pipeline to offload the CO2 to its facilities if the plant was timely constructed. (Treetop and other

related parties filed an arbitration claim against the Company for $500 million, which later settled

for an undisclosed amount). 3

         10.    Southern and Deloitte intentionally assured the market that the Kemper Plant would

be completed on schedule and on target and would achieve its May 2014 COD. Southern assured

its shareholders that the coal gasifier—a critical piece of the Kemper Plant”—was proceeding

“exceptionally well.” In the months leading up to the COD, Southern and its employees continued

to represent that Southern would make its COD, telling its shareholders that construction was

“halfway,” “70 percent complete,” and nearly “75 percent complete.”

         11.    Southern and Deloitte were lying. The reality was that the Kemper Plant fell

significantly behind schedule early in the process and Southern and Deloitte knew well in advance




2
    Southern’s 2016 Form 10-K at II-08.
3
    Southern’s 2017 Form 10-K at II-36.

                                                  9
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 11 of 97




that Southern’s promised May 2014 completion date was impossible to meet. Instead of disclosing

this information to its shareholders, Southern and Deloitte continued to understate the costs and

timeline associated with the Kemper Plant and conceal problems and cost overruns as they

occurred.

       12.     In October 2013, Southern acknowledged that that it would not meet the May 2014

completion date. At that time, Southern and Deloitte also knew that it was significantly over-

budget and would cost dramatically more money to complete the Kemper Plant than reported.

       13.     After failing to meet the COD, instead of acknowledging the degree to which the

project would need additional funding and substantially more time to complete, Southern and

Deloitte continued it misrepresentations and omissions about the Kemper Plant for years.

       14.     Recent disclosures and investigation reveal that Deloitte also made false

representations and omitted material information about Southern’s cost overruns and delays and

inability to meet promised timeframes regarding the Kemper Plant and the losses that Southern

failed to record. On February 20, 2020, Southern released its audited 2019 Annual Report, Form

10-K (“the February 2020 Report”). In that annual report Deloitte publicly disclosed for the very

first time how it addressed Critical Audit Matters (“CAMs”) relating to the construction of

Southern power plants. Specifically, in the February 20, 2020 filing, Deloitte provided information

relating to its auditing of another Southern power plant, Plant Vogtle Units 3 and 4, a nuclear plant

that had been under construction in Burke County, Georgia, since 2013, the very same time frame

of the Kemper Plant construction. In the February 2020 Report, Deloitte set forth its process for

auditing CAMs on that project, explaining that it “tested the effectiveness of internal controls over

the on-going evaluation, monitoring, and disclosure of matters related to the construction and

ultimate cost recovery of Plant Vogtle Units 3 and 4.” Deloitte revealed that it involved



                                                  10
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 12 of 97




construction specialists to help evaluate the processes for on-going evaluation and monitoring of

the construction scheduled and to assess the related uncertainties that would impact Southern’s

cost recovery in its investment in the plant’s construction. Deloitte attended meetings with

Company officials, project managers, contractors, independent monitors, and co-owners of the

project to evaluate the project’s status regarding the construction schedule, changes to the

schedule, and cost forecasts so that Deloitte could assess the impact on the Company’s financial

statement disclosures. Deloitte also said it had read the reports of external independent monitors

employed by the relevant public service commission to evaluate the completeness of the

Company’s disclosures. Deloitte had taken other actions, including comparing the Company’s

financial statement disclosures to information Deloitte gathered to evaluate whether there were

any material omissions in the financial statements. In short, Deloitte explained that it was heavily

involved in the construction process, progress and costs and would know if a project was or was

not on budget and whether the project would or would not make its deadlines.

       15.     Deloitte’s description of the detailed involvement it had with Southern on another

energy project being constructed and audited at the same time as the Kemper Plant suggested that

Deloitte would have been similarly involved in Southern’s construction process at the Kemper

Plant. Follow up investigation revealed this to be true, leading to discovery of the testimony of

Cynthia G. Shaw, Comptroller of Mississippi Power Company (MPC), in a prudency hearing

before the MPSC on May 15, 2015, that revealed that Deloitte acted as a special auditor of the

Kemper Project itself. Ms. Shaw stated that:

       Kemper Project costs have also been subject to auditing procedure performed
       by Deloitte & Touche LLP (Deloitte) in connection with their annual audits of
       MPC’s financial statements. Their audit is based on procedure that meets the
       standards of the Public Company Accounting Oversight Board (PCAOB).
       Deloitte has issued unqualified opinions on the company’s financial statements
       since the inception of the Kemper project and prior.


                                                 11
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 13 of 97




       Internally, MPC and SCS management personnel perform extensive review
       and oversight of the Kemper Project costs in accordance with internal
       controls, and Southern Company Internal Audit also has reviewed various
       aspects of the Kemper Project Costs. Internal Audit, after consultation with
       the Southern Company Audit Committee of the Board of Directors, MPC
       Board of Directors, Southern Company management, and MPC management,
       considered identified risks in its determination of the areas that should be
       audited. As shown in documents previously filed in this proceeding, all
       reportable Internal Audit findings have been addressed.

       16.     Deloitte’s acknowledgment that it audited the Kemper Project costs and its detailed

description of what it does when auditing CAMs make clear that Deloitte would not only have

known that Southern’s statements concerning that Kemper Plant were false and misleading, but

that Deloitte prevented accurate information concerning the true status of the Kemper Project and

its associated losses from timely reaching Southern’s shareholders.

       17.     Deloitte was legally obligated to correct Southern misstatements about the status of

the project—corrections Deloitte wrongfully chose not to make regarding the Kemper Project

disclosures—or withdraw as Southern’s auditor. Deloitte did neither. To the contrary, Deloitte

repeatedly gave unqualified, “clean” audit reports on Southern’s financial statements and internal

control over financial reporting, including in its SEC filings, that contained false material

statements and omissions about the Kemper Project. Deloitte misleadingly told shareholders that

Southern’s financial statements concerning the Kemper Plant were “present[ed] fairly, in all

material respects” and in accordance with GAAP, and that Deloitte was reasonably assured that

Southern’s financial statements were free of material misstatements. In doing so, Deloitte

disseminated false information that misled shareholders into believing that Southern would

complete the Kemper Plant within the timeframes and budget represented. Deloitte did so despite

possessing real-time evidence that Southern could not possibly achieve the represented goals.

       18.     Southern and Deloitte knew well before May 2014 that Southern could not recover

these cost overruns from its ratepayers, because MPSC denied Southern’s request to do so. Instead

                                                 12
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 14 of 97




of disclosing these overruns as losses in the fall of 2014 (at the latest) as required, Southern and

Deloitte hid them from investors and instead dribbled out these losses over twenty-six (26)

quarters in its filings with the Security and Exchange Commission (“SEC”). Deloitte also wrongly

permitted Southern to claim billions of dollars in construction work in progress as an asset on its

balance sheets in direct contravention of GAAP, thus further misleading shareholders.

       19.     After years of blown-out budgets and missed construction deadlines, Southern

announced in June 2017 that it would suspend its clean coal efforts and soon switched to burning

only natural gas. Two years later, Southern announced that it was abandoning construction of the

project altogether. It demolished its coal gasification system in October 2021. Southern’s “clean

coal” plant was a failure.

       20.     By the time Southern abandoned the clean coal Kemper Plant project, it had

incurred over $9 billion in costs, including over $6.2 billion in cost overruns, associated with its

failed clean coal Kemper Plant. The disclosure of these losses over dozens of quarters (instead of

timely reporting them in real time) hid the true extent of the losses born by Southern shareholders

as a result of the Kemper Plant

       21.     The accurate and timely reporting of Southern’s billions in losses on the Kemper

Plant significantly impacts the price of share price. For example, when Southern released its 2017

Q2 10K belatedly reporting $3,012,000,000 in losses on the Kemper Plant—less than half of the

actual losses on the Kemper Plant—its stock price dropped from $50.08 to $47.91 per share. With

over a billion shares outstanding, that quarterly report led to over $2 billion in lost stock value.

Had Southern properly reported the full $6.2 billion of losses when it should have, its stock would

have incurred a more significant immediate loss far earlier in time. Instead, by trickling out the

$6.2 billion loss over six and a half years, Southern masked the extent of its losses and improperly



                                                 13
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 15 of 97




propped up its stock price with false information, thereafter causing purchasers to pay inflated

prices for the stock based on inaccurate information and suffer significant losses in value of their

stock when the losses were recorded.

        22.     Both Southern and Deloitte knew the billions of dollars Southern spent on

construction could never be passed onto the ratepayers, due to the project delays, cost overruns,

and ultimate failure of the project. This meant that the only other source of funding, Southern’s

shareholders, would bear the loss, whatever the amount. By the time Southern finally disclosed

the full extent of its losses related to the Kemper Plant and Deloitte’s fraud was revealed,

Southern’s shareholders had suffered billions in losses.

II.     JURISDICTION AND VENUE

        23.     The Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331, Section 27 of the Securities and Exchange Act of 1934 (the “Exchange Act”) and 15 U.S.C.

§ 77v of the Securities Act of 1933 (the “Securities Act”). The claims asserted herein arise under

Section 10(b) of the Exchange Act and Rule 10b-5(a)-(c) promulgated thereunder, and Section

17(a)(1)-(3) of the Securities Act (15 U.S.C. § 77q).

        24.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, Section

22 of the Securities Act, and 28 U.S.C. §1391(b). Many of the acts and omissions that constitute

the alleged violations of law, including the dissemination to the public of untrue statements of

material facts, occurred in this District.

        25.     In connection with the acts and conduct alleged in this Complaint, Defendant

Deloitte, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the United States mail, interstate telephone communications, and the

facilities of national securities markets.



                                                  14
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 16 of 97




III.   THE PARTIES

       A.      Lead Plaintiff.

       26.     Lead Plaintiff, Robert Formby, purchased Southern common stock during the Class

Period in 2015 and was damaged thereby.

       B.      Defendants.

       27.     Defendant Deloitte & Touche, LLP is the accounting arm of Deloitte, LLP, the

United States affiliate of the “Big 4” international accounting firm, Deloitte Touche Tohmatsu

Limited, headquartered in the United Kingdom. Deloitte & Touche, LLP offers audit and

enterprise risk services. As part of its business, the firm provides clients with audit and financial

statement reviews. Other services include financial reporting, regulatory updates, employee benefit

audits and venture capital services. Deloitte & Touche, LLP has more than 90 offices and 330,000

employees in the United States. It is a Delaware limited liability partnership duly organized under

the laws of the State of Delaware. It is registered with the PCAOB and Office of the Georgia

Secretary of State and is authorized to conduct business, and in fact does business, in Georgia,

including in the Northern District of Georgia.

       28.     Deloitte, LLP manages U.S. subsidiaries that offer tax, consulting, and financial

advisory services. Deloitte, LLP is the largest professional service organization in the United States

with U.S. revenue, in 2021, of $50.2 billion. It is a Delaware limited liability partnership duly

organized under the laws of the State of Delaware. It is registered with the Office of the Georgia

Secretary of State and is authorized to conduct business, and in fact does business, in Georgia,

including in the Northern District of Georgia.

       29.     Defendant Deloitte & Touche, LLP and Deloitte, LLP are collectively referred to

as “Defendants” or Deloitte.



                                                  15
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 17 of 97




         30.     Deloitte & Touche LLP was retained by Southern as its independent auditor.

Defendant Deloitte & Touche LLP issued reports on Southern’s financial statements for at least

the years ending December 31 for the years 2011 through 2020. In each of those reports, Defendant

Deloitte & Touche LLP certified that it had audited those statements in accordance with GAAP

and that the statements presented the financial position of Southern fairly and in conformity with

GAAP. Every audit report was a “clean opinion”—an unqualified report that the financial

statements were fairly presented in all material respects. This is the highest level of audit report a

CPA may issue. These reports were all false and misleading.

         31.     26.    Deloitte & Touche LLP also audited the financial statements of Southern’s

operating subsidiaries, including Alabama Power, Georgia Power, Mississippi Power, Southern

Power, and Gulf Power, among others.

         C.      Relevant Non-Parties.

         32.     Non-party Southern is an American gas and electric utility holding company

headquartered in Atlanta, Georgia and based in the southern United States. Southern is currently

the second largest utility company in the United States in terms of customer base. Southern

maintains its headquarters at 30 Ivan Allen Jr. Boulevard, N.W., Atlanta, Georgia 30308 and has

executive offices in Birmingham, Alabama. Southern’s operating subsidiaries include public

utility companies located throughout the Southeastern United States such as Alabama Power,

Georgia Power, Mississippi Power, Southern Power, and Gulf Power, among others. During the

Class Period, 4 Southern stock was traded on the NYSE, with its common stock trading under the

ticker symbol “SO.” Through its subsidiaries, it serves approximately nine million customers in

six states.



4
    The Class Period is defined as May 10, 2013 to February 20, 2020.

                                                  16
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 18 of 97




       33.     Non-party Mississippi Power Company (“Mississippi Power”) is an investor-

owned electric utility and wholly owned subsidiary of Southern. Mississippi Power is

headquartered in Gulfport, Mississippi, and operates as a vertically integrated utility providing

electricity to retail customers within the State of Mississippi and to wholesale customers in the

Southeastern United States. The Kemper Plant was built by Mississippi Power and was intended

to diversify its investments—the majority of which were in natural gas.

       34.     Southern Services, Inc. (“Southern Services”) is the shared services division of

Southern and is headquartered in Birmingham, Alabama. Southern Services provides

administrative, engineering, and operational services to all Southern’s operating divisions,

including Mississippi Power. Southern Services provided the engineering, design, and

construction services for the Kemper Plant.

       35.     The     Mississippi    Public    Service     Commission    (“MPSC”)      regulates

telecommunications, electric, gas, water, and sewer utilities in Mississippi. The MPSC has

regulatory authority over Mississippi Power.

       36.     Burns and Roe Enterprises, Inc. (“BREI”) was a power plant design, engineering,

and construction company hired by the Mississippi Public Utilities’ staff to act as an Independent

Monitor (“independent Monitor”) of the Kemper Plant. BREI was responsible for monitoring the

regulatory, financial, and auditing aspects of the Kemper Plant and conducted two primary reviews

concerning the Kemper Plant and reported its findings.

       37.     Greg Zoll (“Zoll”) was BREI’s project manager for the Kemper Plant project. He

was a mechanical engineer with over 35 years of experience in developing, designing, engineering,

permitting, and constructing power projects, plants, and facilities.




                                                  17
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 19 of 97




       38.     Brett Wingo (“Wingo”) was an engineer hired by Southern as a subcontractor. His

duties included helping to make scheduling and design decisions on the Kemper Project. 5 Once an

advocate for the plant, Mr. Wingo became a whistle-blower who alleged the Company

mismanaged the Kemper Project and fraudulently concealed cost overruns and project delays. 6

IV.    FACTUAL BACKGROUND AND ALLEGATIONS OF FRAUD

       39.     Southern’s fraud concerning the Kemper Plant is well known by now. As discussed

above, it has been the subject of serval lawsuits, a recent settlement, and scathing public criticism.

What has not been discoverable, until recently, was that Deloitte also made false representations

and omitted material information about Southern’s cost overruns and delays and inability to meet

promised timeframes regarding the Kemper Plant and the losses that Southern failed to record.

       A.      Southern’s Fraud.

               1.    The May 2014 COD was of utmost importance to Southern and its
                     shareholders.

       40.     On December 13, 2006, Southern announced that its subsidiary, Mississippi Power,

planned to construct a new “clean coal” plant located in Kemper County, Mississippi, that would

incorporate integrated coal gasification combined cycle (“IGCC”) technology. In its press release,

the Company claimed that the Kemper Plant would cost approximately $1.8 billion (excluding

costs for the adjacent mine and carbon dioxide pipeline) and that it would be completed in 2013. 7

       41.     The IGCC technology involved two main components—a coal-gasification plant

and a combined-cycle power plant. The coal-gasifier, the most critical and complex part of the




5
  https://www.enwoven.com/collections/view/2914/timeline?eventId=12482.
6
  See generally Ian Urbina, Piles of Dirty Secrets Behind a Model ‘Clean Coal’ Project, The New
York Times, available at https://www.nytimes.com/2016/07/05/science/kemper-coal-
mississippi.html (last visited Feb. 3, 2022) (cited passim as “New York Times Expose”).
7
  https://southerncompany.mediaroom.com/index.php?s=&item=826.

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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 20 of 97




project, would turn lignite coal mined on the Kemper site into synthetic gas (“syngas”). After the

impurities were removed, the syngas would burn in a conventional natural gas-style plant. In

addition,the Kemper Plant would capture and sequester at least 65% of the CO2 produced by the

plant to be used by third parties (like Treetop) in enhanced oil recovery.

       42.     In 2009, Mississippi Power received notification from the Internal Revenue Service

(“IRS”) formally certifying that the IRS had allocated $133 million of Internal Revenue Code

§48A tax credits (Phase I) to Mississippi Power for the construction of the Kemper Plant. The

Company’s ability to use these credits depended upon its meeting the IRS certification

requirements, including the May 2014 COD. The COD is the date when a power plant has (1) been

commissioned, (2) been determined to be mechanically complete, (3) passed all required

performance and emissions tests and (4) been deemed ready to reliably supply electrical energy

and capacity to the transmission grid.

       43.     Also in 2009, Mississippi Power filed for a certificate of public convenience and

necessity (“CPCN”) for the Kemper Plant with the MPSC, stating that the new plant was necessary

to meet the needs of its customers and reduce utility costs. Kimberly Flowers, Vice President of

Mississippi Power, testified before the MPSC that the possibility of cost overruns on the Kemper

Plant was “unlikely and comparatively insignificant.”

       44.     In May 2010, after extensive negotiations with federal and state officials (including

raising the cost cap from $2.4 billion to $2.88 billion), the MPSC issued the CPCN for the Kemper

Plant. The accompanying order (“2010 Order”) (1) approved a construction cost cap up to $2.88

billion (any costs above this amount could not be passed on to Mississippi Power customers and

would instead be borne by Southern shareholders) and (2) approved a ratepayer-funded allowance

to cover the financing of construction costs up to and including the May 1, 2014 COD (any



                                                   19
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 21 of 97




construction financing costs incurred after this date could not be passed on to Mississippi Power

customers and would likewise be borne by Southern shareholders).

       45.    The 2010 Order further mandated that the MPSC would “retain Independent

Monitors 8 to assist the Commission in its statutory duties by monitoring Project progress,

reviewing costs and plans, and advising the Commission on questions of prudence and on the

wisdom of continuing the Project.” However, on March 15, 2012, the Mississippi Supreme Court

reversed the MPSC’s CPCN order for the Kemper Plant and directed the MPSC to correct its order

to include substantial evidence supporting its decision granting the CPCN. The MSPC voted to re-

certify the construction on the Kemper Plan on April 24, 2012, and issued a new CPCN authorizing

the acquisition, construction, and operation of the Kemper Plant. The order required Mississippi

Power to provide monthly progress reports to the MPSC and to indicate whether the “[p]roject is

on schedule and on budget.” The MPSC’s certification was based on Southern’s representation

that it would meet the May 2014 COD and its budget of $2.88 billion.

       46.    In a July 28, 2010 earnings call with shareholders and analysts, Southern

announced that the MPSC had approved the Kemper Plant, that the estimated cost of the Kemper

Plant was $2.4 billion and that it would be in service by May 2014. Southern’s Chief Financial

Officer (Paul Bowers) and its Chief Executive Officer (David Radcliff) told shareholders they

were “confident” that they could keep the costs of the Kemper Plant below $2.4 billion.9

       47.    On December 6, 2010, the Company broke ground on the Kemper Plant.




8
 BREI was engaged in early 2011 as an Independent Monitor for the Project.
9
  In August 2010, Arthur Beattie was appointed CFO and Executive Vice President of the
Company, replacing Mr. Bowers as CFO, who at the same time became COO and later President
and CEO of Georgia Power, the Company’s largest subsidiary.

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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 22 of 97




               2.     Southern knew early on that it was not going to make the May 2014
                      COD and that its cost overruns would be borne by its shareholders.

       48.     The Kemper Project experienced significant problems and project delays early on.

Southern was aware of these and knew that the Kemper Plant could not possibly achieve a May

2014 COD—thus jeopardizing $412 million in federal tax credits, $270 million in clean coal power

initiative (including grants received from the Department of Energy), contracts with other

companies, and its rate recovery. Indeed, there were serious doubts as to whether it would ever

become operational.

       49.     Documents and recordings provided to the New York Times by whistle-blower and

former Company engineer, Brett Wingo, and interviews the New York Times conducted with over

30 regulators, contractors, consultants, and engineers who worked on the Kemper Project, revealed

that Southern not only “drastically understated the project’s cost and timetable” but it repeatedly

tried to conceal problems as they emerged.” 10

       50.     Mr. Wingo had recorded conversations with “at least six senior engineers from the

plant [who] said they believed that the delays and cost overruns, as well as safety violations and

shoddy work, were partly the result of mismanagement or fraud.” 11 The engineers were aware that

the Company overstated certain milestones to reassure MPSC and Southern’s shareholders that the

project would be completed on time and on budget. Donald Falletta, another Company engineer,

told Mr. Wingo during one call that “he too believed that managers were being ‘told to lie’ about

the pace of progress.” Brent Duncan, recounted in a phone call that “managers were being allowed

to ‘screw’ with the schedule and ‘then claim they can meet all these dates, and there’s no way.’”




10
   The internal documents and recorded telephone conversations referenced in The New York
Times exposé are available at https://www.enwoven.com/collections/view/2914/timeline.
11
   New York Times Expose.

                                                 21
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 23 of 97




       51.     By 2012, Mr. Wingo, who had received glowing performance reviews and was

awarded an annual $2,000 “Southern Excellence” employee award, had raised concerns to

Southern about its misstatements and omissions concerning the Kemper Plant. Mr. Wingo told his

supervisors that other scheduling information that Mississippi Power and Southern were providing

to the public was infeasible and misleading.

       52.     The Company knew by this time that there was something terribly wrong with its

schedule and that the May 2014 COD was not achievable. In 2012 the Company experienced major

refractory failure issues in the fabricator which caused a three-to-six-month delay building the

gasifier structure, the “centerpiece” of the IGCC technology. This was significant, as project

managers (including Mr. Wingo) were told in late 2011 that there “was no time to lose” on the

gasifier structure because every day that was lost on building the gasifier would result in a day that

would be added to the back end of the project schedule. 12 (As described below, the project schedule

had no padding or “float” built in.) Even after experiencing this significant delay to a central

component, the Company did not report a shift in its May 2014 COD.

       53.     As another example, the Company bragged that it had achieved “first fire,” (an

important milestone for the gasifier) but this did not actually happen. 13

       The engineers joked that Mississippi Power, eager to show progress to investors
       and regulators, overstated certain milestones. For example, it bragged of achieving
       the “first fire,” which involves the lighting of the gasifier, when what they did fell
       far short of the actual definition, according to Mr. Wingo.

       “We burned natural gas in a pilot” light, Brandon Davis, an engineer, said during
       one phone conversation. “I accomplish that every day in my garage.” 14




12
    @ISSUE’s August 15, 2017 interview of Brett Wingo, Mississippi Public Broadcasting,
available at https://www.youtube.com/watch?v=c1FdTxCbnfU (last visited Feb. 4, 2022).
13
   https://www.enwoven.com/collections/view/2914/timeline?eventId=12714.
14
   New York Times Expose.

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         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 24 of 97




        54.     Ed Day, Mississippi Power’s CEO, tried to tighten control over what information

was shared outside of the Company. For example, he wrote in an August 8, 2012 email to senior

staff that “‘again’ no numbers, schedules, or information in general should be communicated to

external parties until I review it/them first.” 15

        55.     Mr. Wingo was not the only one concerned. Tom Theodore, a scheduling consultant

who worked on the Kemper project for about eight months in 2012, “described the company’s

stated schedule as little more than ‘a pretty picture to show everybody that we’re all doing

wonderful as opposed to what reality showed on the ground.’ His predecessors had altered the

software so it no longer automatically adjusted the final price and completion date to reflect

problems as they emerged, he said.” 16

        56.     On June 5, 2013, Yvonne Avila (a Project Engineer for the Kemper Plant) sent an

email to Brett Wingard (the Engineering & Procurement Manager for the entire Kemper Plant)

alerting him to “two potentially big issues.” Avila explained that another manager had instructed

her to change the piping quantity needed for construction because an additional 200,000 linear feet

of piping was needed to finish the job. Avila recounted that on a call that afternoon, Coy Graham,

an Assistant Construction Site Manager over the gasifier, “started going off about how they keep

getting [isometric drawings] every week, and that they based all the schedule re baseline off of the

drawings they had at the time, and now the numbers keep increasing and they don’t even know

what is coming out, etc. etc.” 17




15
    https://www.enwoven.com/collections/view/2914/timeline?eventId=12559.
16
    New York Times Expose.
17
   https://s3.amazonaws.com/urbina/kemper/2013.06.05_Construction%20Delays%20Frustrate%
20Project%20Engineer.pdf (last visited Feb. 8, 2022).

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          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 25 of 97




         57.   “After Mr. Wingo provided company officials with a binder of documents

corroborating his allegations, he said he was ordered to stop sending emails on the matter because

they could become public through litigation.” He was also removed from email distribution lists

on high level emails, “isolated as a project manager.” A short time later, he was asked to step down

from his project management role. 18

         58.   Mr. Wingo was fired in February 2016— a firing the Occupational Safety and

Health Administration later found illegal. Mr. Wingo “refused an offer of roughly $975,000 from

the company to keep quiet, according to interviews and court records related to his whistle-blower

claims. Southern was then granted a restraining order, later dropped, forbidding him from speaking

publicly about the plant, court records show.” 19

         59.   Southern employees were not the only ones who raised concerns that Southern

Company was misrepresenting its progress on the Kemper Plant. PM Alliance, Inc. (“PM

Alliance”) the scheduling contractor for the Kemper Project resigned from the Kemper Project in

February 2014, because the project plan did not “fairly and accurately” represent the remaining

work to be done. Earlier that same month, PM Alliance had warned Southern that it could not

support using hypothetical and misleading information in a published schedule that could

ultimately be used by investors, regulators, and the public.

         60.   The Kemper Plant’s Independent Monitor responsible for monitoring the

regulatory, financial, and auditing aspects of the Kemper Plant, BREI, also raised concerns in a

series of highly critical reports it filed with the MPSC from 2012 to 2014.




18
     New York Times Expose.
19
     New York Times Expose.

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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 26 of 97




       61.     In November 2012, the Independent Monitor published an Independent Project

Schedule and Cost Evaluation (“IPSCE”) Report, wherein it stated that the Kemper Plant’s

schedule had slipped roughly three months, and that, as a result, the total project cost would exceed

$3 billion. Greg Zoll, BREI’s project manager for the Kemper Plant, wrote that Southern Company

services was “not utilizing some basic project management and project controls tools and

techniques that are available and customarily used in the industry for a project of this magnitude.”

He also highlighted the technology risks associated with the project that could impact the

completion date of the Kemper Plant and increase project costs. 20 As expenses and purchases

increased, reported construction costs decreased and scheduling times were shortened, trends that

Mr. Zoll called “illogical.”

       62.     In this report, Mr. Zoll explained that there were numerous critical path deliveries

(aka project tasks) 21 that were behind the original November 2012 baseline plan. For example, the

gasifier refractory lined components were up to three months late. This delay also impacted gasifier

structural steel erection and equipment installations above a 605’ elevation. As of November 2012,

Mr. Zoll determined that these deliveries were about three months behind the original baseline

schedule. 22 As another example, the remaining gasifier structural steel installation and gasifier




20
   Independent Monitor’s Project Schedule and Cost Evaluation for the Kemper County IGCC
Project prepared for Mississippi Public Utilities Staff (Nov. 15, 2012), at 7.
21
   A schedule’s ‘critical path’ is an identification of sequential activities within a schedule that
determine minimum time required to complete the project. A delay of any activity in the critical
path will delay the project unless workarounds or other mitigating actions are taken to accelerate
the remaining work.
22
   Independent Monitor’s Project Schedule and Cost Evaluation for the Kemper County IGCC
Project prepared for Mississippi Public Utilities Staff (Nov. 15, 2012), at 25.

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            Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 27 of 97




components, which needed to be delayed to accommodate the new gasifier delivery dates, could

result in up to a five-month delay in completing the gasifier structure and systems. 23

           63.   Based on the project commodity charts, several commodities were behind the

original baseline schedule as presented in the Company’s monthly production report. Mr. Zoll

identified other delays that would impact project completion date, The underground piping was

behind the original plan by six months, concrete foundations were three months behind the original

plan, structural steel was behind the original schedule by about three months “and continue[d] to

slip,” and process piping was delayed by at least one month. 24

           64.   He concluded that Southern should use certain “project management and project

control tools and techniques” to better “monitor, track and manage the logistics” for the Kemper

Plant. In addition, he concluded that the Kemper Plant was unlikely to be completed by the May

2014 deadline and recommended that the Company “[c]onduct a detailed review of the August 31,

2012, re-baselined schedule to verify and, if necessary, modify the logic, predecessors and

successors to each activity.” 25

           65.   In response to the November 2012 report, Southern spokesman Tim Leljedal denied

that delays reported by the Independent Monitor would negatively impact the Kemper Plant’s

schedule. “[the Company] remains confident and recently confirmed its cost and schedule

projects” for the Kemper Plant, he said. 26




23
    Independent Monitor’s Project Schedule and Cost Evaluation for the Kemper County IGCC
Project prepared for Mississippi Public Utilities Staff (Nov. 15, 2012), at 25-27.
24
   Id. at 24-25.

25
     Id. at 7.
26
  See John Downey, Cost Overruns Remain Issue for Gasified-Coal Plants, Charlotte Bus. J., Nov.
29, 2012.

                                                  26
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 28 of 97




        66.        In January 2013, a full-time site monitor was added to the BREI team. BREI’s

monitoring of the Kemper Plant also included approximately seven trips to Southern’s offices in

Birmingham, Alabama and monthly visits to the Kemper Plant to monitor and review critical

engineering, schedule, and cost aspects of the project. BREI’s review covered the period from late

2009 through March 31, 2013.

        67.        In April 2014, Mr. Zoll issued a second report, a prudency evaluation. A prudency

evaluation is a retrospective analysis of the decision-making process and the activities performed

during the licensing, construction, and start-up phases of power plant construction. A prudency

evaluations uses specific evaluative criteria to determine whether construction-related decisions

were reasonably made, and whether activities were prudently performed. In that report, Mr. Zoll

observed that the delay of the gasifier (the critical component of the clean coal plant) 2012 had

adversely and “significantly” impacted the schedule. 27

        68.        Further, delayed delivery of major equipment to the site caused “major delays” and

impacted the sequencing of the construction and installation of the equipment. He also noted that

the growth of major commodities (i.e., concrete, steel, plant piping, and cable) and labor required

to build the Kemper Plant had increased dramatically and that “the increased quantities and man-

hours were being added without a change to the COD of the facility, which remained at May

2014 as of March 2013.” 28 The large increase further crated severe labor congestion (commonly

referred to as a “stacking of trades”) in tight areas of the plant, which negatively affected labor

productivity. 29




27
   Independent Monitor’s Prudency Evaluation Report for the Kemper County IGCC Project
prepared for Mississippi Public Utilities Staff (Apr. 15, 2014), at 55.
28
    Id. at 54.
29
    Id. at 49

                                                    27
            Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 29 of 97




           69.   The prudential report identified other issues impacting the COD, including the

delay of available piping, which caused a rippling effect in the procurement, fabrication,

construction, and startup phases. This resulted in further inefficiencies and labor expended which

pushed the schedule back even further.

           70.   Notably, the schedule on which the May 2014 COD was predicated, failed to

include any buffer or slack—or what the industry calls “float.” Adding float to account for

unknowns or delays that may occur, is common practice in the industry especially when the project

is challenging. Because there was no “float” built into the schedule, when the Kemper Project dates

slipped, the COD was in peril. This was recognized by Black and Veatch (“B&V”)—another

consultant hired by the MPSC and relied on by Mr. Zoll.

           71.   In his April 2014 prudency evaluation, Mr. Zoll concluded that Southern “should

have recognized that there was little margin for error with respect to meeting the May 2014 COD.”

The Kemper Project continued to fail to meet significant milestones, yet the COD was not adjusted.

           72.   Mr. Zoll’s evaluation focused on the reasonableness of the Company’s actions and

decisions at the time the decisions were made, or actions taken. At no point did the Independent

Monitor armchair quarterback or evaluate decisions made in hindsight. The decisions and actions

were judged purely on what was known or should have been known to the Company at the time

the decision was made, or the action implemented. 30




30
     Id. at 4.


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         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 30 of 97




        73.    The 2014 prudency report was “filed confidentially” with the MPSC in April 2014.

In November 2014, the first news of the 2014 prudency report broke. In response, the Company

“vigorously denied the veracity of the report” and related testimony.” 31

        74.    Rather than disclose the problems, Southern fervently concealed the scheduling

delays and cost overruns, pretending that they arose from “‘unknown unknowns,’ as Southern’s

CEO, Tom Fanning, often called them—like bad weather, labor shortages and design

uncertainties.” Landon Lunsford, a Kemper Plant engineer told Wingo during one recorded call

that “[t]he company will never admit the project-management problems because they will attract

more scrutiny from regulators. . . ‘As long as they can talk away the results as attributable to

something else other than just poor performance, the other public service commissions can’t hold

them over the fire as much,’ he added.”

        75.    According to project engineers, intense pressure to meet the May 2014 COD led to

substandard work that, in turn, contributed to further delays. Mr. Wingo described seeing piping

in the gasifier structure that was held up by cables and ropes, instead of being supported by pipe

hangers. 32 Mr. Wingo and other engineers raised construction quality issues to management, but

the executive pressure to keep up with the announced schedule “trumped any sort of quality control

on the installation and inspection of [the] piping”—a “major component” of the construction. (The

Independent Monitor corroborated this, finding the quality of the pipe and pipe connections were

terrible.).




31
   See Steve Wilson, Report on Kemper Project Casts Embattled Power Plant in Poor Light,
Mississippi Watchdog,
https://web.archive.org/web/20160811071540/http://watchdog.org/256865/kemper-schedule/)
(last visited Jan. 26, 2022).
32
   @ISSUE’s August 15, 2017 interview of Brett Wingo, Mississippi Public Broadcasting,
available at https://www.youtube.com/watch?v=c1FdTxCbnfU (last visited Feb. 4, 2022).

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           Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 31 of 97




           76.   Further, the construction group would pass certain work packages onto the

commissioning group—the group responsible for taking over finished work packages, testing, and

verifying their operation. Due to immense executive pressure, the construction team would pass

on work packages that were incomplete with a lot of quality control issues to the commissioning

group. This would allow the Company executives to advertise to the public that certain milestones

were being met, even though substantial construction work still needed to be done on these work

packages, work and time which was not added back into the schedule. They were essentially just

kicking the can down the road. 33

                 3.   Southern repeatedly misled its shareholders and made materially false
                      statements and omitted material information about the Kemper Plant’s
                      cost and completion date.

           77.   Despite knowing that it could not possibly meet the May 2014 COD (or the

construction cost cap set by the MPSC), the Company nonetheless continued to make numerous

materially false and misleading statements and omissions to Southern’s shareholders concerning

the Kemper Plant that continued to inaccurately paint a rosy picture concerning the plant’s progress

and repeatedly assured its shareholders that the project would be completed by the May 2014 COD

deadline and within budget.

           78.   On April 25, 2012, Southern held its quarterly earnings call, in which it assured

shareholders that the Kemper Plant’s construction costs and the May 2014 COD remained

achievable. On the call, Mr. Fanning confirmed that the start-up phase of the Kemper Plant would

begin in June 2013. Mr. Fanning also confirmed the May 2014 COD. Specifically, he stated “Initial

startup and testing are now only 14 months away. And we remain confident that this project will




33
     Id.

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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 32 of 97




provide the best value to customers over the long term. Targets remain achievable.” Approximately

two weeks later, the Company told MPSC of a new cost overrun, which raised the total project

price to $2.76 billion. (Southern later revealed that the Company withheld this information from

MPSC while it was deciding whether to approve the Kemper Project.).

       79.     On May 7, 2012, Southern filed its consolidated Form 10-Q for the first quarter of

2012 with the SEC. The Form 10-Q stated, in part, that “Mississippi Power anticipates that the

costs to complete construction of the portion of the Kemper IGCC subject to the construction cost

cap will be less than the cost cap but will likely exceed the certificated cost estimate” and that

“[t]he Kemper IGCC plant, [was] expected to begin commercial operation in May 2014.”

       80.     On May 15, 2012, Art Beattie, Executive Vice President and Chief Financial

Officer (“CFO”) of Southern, presented at the Deutsche Bank Clean Tech, Utilities and Power

Conference and stated:

       [P]rogress [at the Kemper Plant] is being made. We’ll have first gas to the CT,
       combustion turbines, in June of next year. We’ll have the first heat to the gasifier
       in October of next year and the first [syn]gas to the combustion turbines in
       December of next year. So this plant is well on its way. We’re about . . . 72% of its
       costs are confirmed at this point. 90% of costs will be confirmed by the end of this
       year – so good progress at Kemper County.

       81.     On June 8, 2012, Southern issued a news release providing an update regarding the

Kemper Project: “[T]he Kemper Plant construction is progressing on schedule and continues to be

the best generation option for customers. The plant will be on line May 2014.”

       82.     Also on June 8, 2012, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the PSC. The report stated: “Overall Project Status: Project is on schedule.”

       83.     On July 6, 2012, Mississippi Power released a status report disclosing a new

estimated Kemper Plant cost overrun of $117.9 million, bringing the total cost to $2.88 billion.

(Ten days later, a senior manager at the Kemper Plant, Brett Wingard, e-mailed Mr. Wingo and


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          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 33 of 97




other engineers at the Kemper Plant and wrote Mississippi Power CEO and President Day wanted

“cost cutting ideas” by the next morning, July 17, 2012. 34).

         84.     On July 25, 2012, Southern held its earnings call, where it told its shareholders that

the Kemper Plant remained on schedule and that the estimated cost for the project was $2.88

billion. During the call, Mr. Fanning stated, “Our most recently filed status report reflects an

estimated cost for the project of $2.88 billion, including a $62 million contingency” and that

Southern’s “current analysis indicates that the overall cost to customers for [the Kemper Plant]

will be less than projected in the original certification.”

         85.     On August 3, 2012, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the MPSC. The report stated: “Overall Project Status: Project is on schedule.”

         86.     On August 6, 2012, Southern filed its consolidated Form 10-Q for the second

quarter of 2012 with the SEC. The Form 10-Q reiterated that “The Kemper IGCC, expected to

begin commercial operation in May 2014, will use locally mined lignite (an abundant, lower

heating value coal) from a mine adjacent to the Kemper IGCC as fuel.”

         87.     On August 9, 2012, Mississippi Power issued a press release announcing that the

Kemper Plant was “nearing peak construction, creating jobs.” The press release stated, in part that

commercial operation was less than two years away and would be on line by May 2014. 35

         88.     On September 13, 2012, Southern issued a news release that stated:

         Recently, Mississippi Power safely completed a major construction milestone at its
         Kemper County energy facility as plant construction nears the halfway mark.
         Installed was a section of the plant’s gasifier. . . Installation of the gasifier marks a
         pivotal point in the construction phase of our project and the advancement of 21st
         century coal technology,” said Mississippi Power Vice President of Generation




34
     https://www.enwoven.com/collections/view/2914/timeline.
35
     https://southerncompany.mediaroom.com/index.php?s=34171&item=2616.

                                                     32
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 34 of 97




       Development Tommy Anderson. . . . Commercial operation of the 582-megawatt
       facility is expected to begin May 2014. 36

       89.     On October 5, 2012, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the PSC. The report stated: “Project is on schedule.” 37

       90.     On October 19, 2012, Southern issued a news release with the headline “Mississippi

Power files updated assumptions on Kemper project, confirms costs and schedule remain on

target.” The news release stated:

       As part of its ongoing review process for the Kemper County energy facility
       project, Mississippi Power filed updated assumptions to both cost and schedule in
       its monthly construction report to the Mississippi Public Service Commission. The
       company confirmed that the project is on schedule to be completed in May 2014
       and that cost projections remain on target to stay at or below $2.88 billion . . .

       Overall, the project is more than 70 percent complete. The plant is scheduled to
       begin initial start-up next summer and commercial operation in 18 months.

       “With engineering and procurement nearing completion, construction progressing
       on schedule and key startup milestones approaching quickly, Mississippi Power’s
       projections are that cost and schedule targets are achievable,” said Tommy
       Anderson, vice president of generation development for Mississippi Power.

       91.     On November 5, 2012, Southern announced its third quarter 2012 financial results

and held a conference call for analysts, media representatives and investors during which Southern

represented that the Kemper Plant was on schedule. Specifically, Mr. Fanning stated:

       At Plant Ratcliffe in Kemper County, Mississippi, construction remains on
       schedule to begin commercial operation in May of 2014. Cost projections remain
       on target to finish at or below $2.88 billion. We continue to actively manage
       ongoing pressures on costs and schedule which are typical for a project of this scale.
       Installation of the gasifiers and assembly is proceeding exceptionally well and the
       carbon dioxide absorbers are all in place . . . Art [Beattie] and I met recently with
       Moses Feagin, he’s the CFO of Mississippi Power; Ed Day; their regulatory people.
       We meet regularly on this project. 38



36
   https://www.enwoven.com/collections/view/2914/timeline?eventId=12561.
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   https://southerncompany.mediaroom.com/index.php?s=34171&item=2647.
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   https://www.enwoven.com/collections/view/2914/timeline?eventId=12563.

                                                 33
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 35 of 97




       92.      (That same month, Greg Zoll, BREI’s project manager for the Kemper Plant

project, published a report stating that Kemper’s project schedule had slipped roughly three to six

months, and that the delays would push the total project cost over $3 billion, as detailed below.

Deloitte audits required that they audit the same project schedule. This would include comparing

the costs to the actual budget, evaluating project milestones and whether they could be met,

evaluating whether the project could be completed in time to recognize tax incentives and rate

payer recovery, and estimating the total cost to complete the Kemper Plant. Mr. Zoll wrote that

Southern was “not utilizing some basic project management and project controls tools and

techniques that [were] available and customarily used in the industry for a project of this

magnitude.”)

       93.      On November 7, 2012, the Company filed a quarterly report on Form 10-Q with

the SEC, reiterating the financial and operating results stated in the press release for the third

quarter of fiscal year 2012. It reiterated the statements previously made that the Kemper Plant was

“expected to be in service in May 2014,” and also stated that “Mississippi Power continues to

believe its cost estimate and schedule projection remain appropriate based on the current status of

the project.”

       94.      On November 13, 2012, Southern issued a news release with the headline:

“Mississippi Power’s Kemper County energy facility achieves major milestones toward

completion,” which stated:

       With the project now more than 70 percent complete, Mississippi Power’s Kemper
       County energy facility has achieved several major milestones in recent weeks . . .
       “These milestones are indicators of the tremendous progress being made every day
       to deliver 21st century coal technology to our customers,” said Tommy Anderson,
       vice president of generation development at Mississippi Power.

       95.      On November 29, 2012, in an article published in the Charlotte Business Journal,

Southern spokesman Tim Leljedal disputed a report, filed by the Independent Monitor, that

                                                 34
           Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 36 of 97




construction costs were likely to exceed $3 billion. The article stated: “According to an email from

Southern spokesman Tim Leljedal, Mississippi Power ‘remains confident and recently confirmed

its cost and schedule projects’ for the Kemper County facility.”

         96.    On December 18, 2012, Southern issued a news release, which stated: “As we enter

2013, the project is nearly 75 percent complete and scheduled to begin commercial operation in

May 2014. In six months, the facility will begin initial start-up activities for the combined cycle

portion of the plant, which will generate the electricity.” (In a December 13, 2012 email, Tim

Pinkston, a Kemper Plant senior manager, emails engineers, emphasizing that all internal and

external presentations relating to the project must be approved by upper management). 39

         97.    On December 28, 2012, in an AP news article, Mr. Fanning stated: “Everything

that I know, this plant was exceedingly well-built and well organized during the construction

period.”

         98.    On January 9, 2013, Southern issued a news release that stated: “‘We’re less than

16 months from commercial operation and this facility will utilize the cleanest technology

available’ . . . said Tommy Anderson, vice president of generation development. The project,

which is nearly 75 percent complete, is on schedule to be completed by May 2014.”

         99.    On January 24, 2013, Southern Company issued a news release that stated: “The

[Kemper] project is on schedule for completion in May 2014.”

         100.   On January 25, 2013, Art Beattie participated in Southern’s Conference Call with

securities analysts to discuss the Kemper Plant. During that call, Mr. Beattie stated: “the project




39
     https://www.enwoven.com/collections/view/2914/timeline?eventId=12565.

                                                 35
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 37 of 97




remains on track for a May 2014 in-service date when it is scheduled to begin providing clean,

safe, reliable energy to the citizens of Mississippi.”

       101.    On January 30, 2013, Southern announced its fourth quarter and fiscal year 2012

financial results and held a conference call for analysts, media representatives and investors during

which Southern represented that the Kemper Plant was still expected to be completed and placed

in service by the critical May 2014 deadline. Specifically, Mr. Fanning stated:

       The second priority is achieving success with our major construction projects,
       specifically Plant Vogtle Units 3 and 4 and the Kemper project, both of which are
       continuing to progress in an outstanding manner . . . Meanwhile, the Kemper project
       is now 75% complete and remains on track for its May, 2014 commercial operation
       date. To date, approximately $2.5 billion has been spent on the project. The plant
       is scheduled to begin start-up activities this summer, with first fire going to the CTs
       in June, and the first gasifier heat-up taking place in December. Reliable syn gas is
       expected to begin flowing to the CTs in February, 2014.

       102.    On February 26, 2013, Southern issued a news release that stated: “The project is

scheduled to begin operation in May 2014.”

       103.    On February 28, 2013, Southern filed its consolidated Form 10-K with the SEC for

fiscal year 2012 (the “2012 10-K”). Deloitte provided a “clean audit” of this report (as described

more fully below). The 2012 10-K stated in part that “[t]he Kemper IGCC is scheduled to be placed

in-service in May 2014” and that the cost estimate for the project was approximately $2.88 billion.

       104.    On March 4, 2013, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the PSC. The report stated: “Project is on schedule.”

       105.    On April 2, 2013, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the PSC. The report stated: “Project is on schedule.”

       106.    On April 23, 2013, Southern and Mississippi Power filed a combined current report

on Form 8-K with the SEC announcing cost updates to the Kemper Plant. The Form 8-K disclosed

that the Kemper Plant project would now cost $3.42 billion, a $540 million increase from its last


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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 38 of 97




estimate (nearly 20%), blaming additional labor, engineering, and materials costs. That same day,

Southern issued a press release. Mr. Fanning stated: “In keeping with our commitment to

customers, Southern Company will fully absorb the increased costs related to the Kemper project.”

       107.    During its April 24, 2013 earnings call, Mr. Fanning acknowledged the $540

million ($333 million after-tax) charge related to cost overruns, but again told shareholders that

the May 2014 COD was still achievable and startup activities at the Kemper Plant were 40%

complete.

       108.    On April 24, 2013, following the release of its first quarter 2013 financial results,

Southern held a conference call for analysts, media representatives and investors during which

Defendants disclosed a $540 million ($333 million after- tax or $0.38 per share) Kemper Plant

cost overrun but, nevertheless, represented that construction of the Kemper Plant was on schedule

to be completed and up and running by May 2014. Specifically, Mr. Fanning stated:

       We continue to make tremendous progress at the Kemper site with most of the
       major components in place, the combined cycles, gasifiers, massive gas absorbers
       and lignite dome as well as a 75-acre reservoir, the facility’s appearance reflects
       our progress with start-up activities which are now 40% complete . . . We continue
       to believe that the scheduled in-service date is achievable.

       109.    On May 10, 2013, the Company filed a quarterly report on Form 10-Q with the

SEC for the first quarter 2013, reiterating the financial and operating results stated in the press

release. It reiterated the statements previously made that the Kemper Plant had recorded a $540

million ($333.5 million after-tax) charge related to cost overruns at the Kemper Plant, and that the

Company did not intend to seek contributions or recovery of the increased costs, which exceeded

the $2.88 billion cost cap. The Form 10-Q stated: “The Kemper IGCC [is] scheduled to be placed

in service in May 2014.”

       110.    Also on May 10, 2013, Mississippi Power announced a restatement of its previously

issued financial statements because of its incorrectly accounting for the project costs for the

                                                 37
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 39 of 97




Kemper Plant. In Amendment No. 1 to the 2012 10-K, Mississippi Power restated its financial

statements for the year ended December 31, 2012 to recognize a pretax charge for an estimated

probable loss for the Kemper Plant of $78 million ($48.2 million after tax).

       111.    On May 15, 2013, Mississippi Power filed its Kemper Monthly Status and Cost

Report with the PSC. The report stated: “Project is on schedule.”

       112.    On May 20, 2013, Mississippi Power abruptly announced that Day, the President

and CEO of Mississippi Power, was stepping down from his position. 40 Despite reports of Mr.

Day’s misconduct, on the same day that he resigned, Mr. Day entered into a three-year consulting

agreement with Mississippi Power, which entitled him to an annual retainer of $150,000 per year

for providing consulting services for “no more than four (4) days during each calendar month.”

       113.    On June 3, 2013, Mississippi Power issued a Form 8-K which attached the Kemper

Plant Monthly Status and Cost Report filed with the PSC. The status report stated: “Project is on

schedule.”

       114.    On July 1, 2013, Southern Company issued a Form 8-K which attached the monthly

Kemper Plant status report Mississippi Power filed with the Mississippi PSC. That monthly status

report stated: “Project is on schedule.”

       115.    On July 30, 2013, Southern and Mississippi Power filed a combined current report

on Form 8-K with the SEC announcing cost updates to the Kemper Plant and the related

recognition that the project would not cost $3.87 billion. On the same date during an earnings call,

Southern reassured its shareholders that despite the cost overruns, the Kemper Plant remained on




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    Ray Henry, Miss. Power CEO Ed Day Out, Jackson Free Press, May 21, 2013,
https://www.jacksonfreepress.com/news/2013/may/21/miss-power-ceo-fired-stonewalling-
regulators/ (last visited Jan. 26, 2022).

                                                 38
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 40 of 97




schedule to meet the May 2014 deadline, with startup activities scheduled to begin in late August

2013 with the firing up of the first combustion turbine.

        116.    On July 31, 2013, Southern Company issued a press release announcing its second

quarter 2013 financial results. In the press release, Mr. Fanning stated: “Despite recent cost

challenges, we are making great progress in the construction of the Kemper County energy

facility.”

        117.    After releasing its second quarter 2013 financial results, on July 31, 2013, Southern

Company held a conference call for analysts, media representatives and investors during which

Defendants represented that construction of the Kemper Plant was on schedule, still expected to

be completed and up and running by May 2014. Specifically, Defendant Fanning stated:

        [C]onstruction at the Kemper County energy facility is also progressing well. Since
        our last earnings call, the lignite mine has been placed into service and the final
        heavy lift, as well as a significant portion of the startup activities for the combined
        cycling unit, has been completed. Recognizing that piping is a key area of focus at
        this stage of the project, it’s important to note that 90% of the piping has been
        fabricated and almost half is installed. And that we have been achieving our key
        installation targets for steel and pipe . . . Looking ahead for the remainder of 2013,
        startup activities include the first fire of the first combustion turbine in late August,
        [synching] the steam turbine to the grid in October, and heating up the first gasifier
        by year end. Our May 14 in-service date, to which our construction and startup
        plans are tied, remains achievable.

        118.    On August 6, 2013, Southern filed a quarterly report on Form 10-Q with the SEC,

reiterating the financial and operating results stated in the press release for the second quarter of

fiscal year 2013. It reiterated the statements previously made that the Kemper Plant was “scheduled

to be placed in-service in May 2014.”

        119.    On August 30, 2013, Mississippi Power issued a Form 8-K which attached the

Kemper Plant Monthly Status and Cost Report filed with the PSC. The report stated: “Mississippi

Power plans to meet the May 2014 in-service date; however, the Company could experience



                                                    39
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 41 of 97




schedule delays associated with construction and startup activities for this first-of-a-kind

technology.”

       120.    On September 12, 2013, Southern Company issued a press release that stated:

       Construction milestones reached at Kemper, first fire of CT complete. Gulfport,
       Miss. – Mississippi Power’s Kemper County energy facility has reached several
       major construction milestones, including the first fire of the facility’s two
       combustion turbines (CT). The first fires were completed Aug. 28 on the first CT
       and Sept. 4 on the second CT. “Firing up the combustion turbines is an important
       milestone in both the construction and startup phases of the Kemper County energy
       facility,” said John Huggins, vice president of generation development. . . .”This
       milestone is further indication that we are one step closer to the startup of the plant.”

       121.    In October 2013, the Company announced it would not meet its May 2014 deadline

and would have to repay the $133 million in federal tax credits as a result. The Company blamed

its failure to meet COD on bad weather and additional unforeseen work. During that month’s

earnings call, Southern told its shareholders that the estimated completion date for the Kemper

Plant had slid to the end of 2014. Southern also told its shareholders that the further delay was

going to cost between $15 million and $25 million a month. Mr. Fanning blamed the cost overruns

on a “mistake on the engineering” saying the Company “agreed to a price cap without having fully

done [their] homework on the deal.”

       122.    Even after acknowledging that it could not meet its May 2014 COD and that it had

exceeded its $2.88 billion cost cap, Southern continued to materially misrepresent the status of the

Kemper Plant, its estimated completion, and its costs to Southern’s shareholders. Southern

continued to make misleading positive statements, which suggested that the Kemper Plant would

still be completed in 2014 and would be eligible to receive approximately $150 million of

additional tax credits.




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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 42 of 97




       123.    Instead of presenting a realistic assessment regarding the construction of the

Kemper Plant and its estimated date of completion (if ever) and associated costs, Southern also

continued to incrementally shift its deadlines and trickle out associated cost overruns.

       124.    As the months went on, the completion date for the Kemper Plant continued to be

delayed, and the costs of the project continued to increase.

       125.    On November 6, 2013, Southern filed its 10-Q for the third quarter 2013, in which

Southern stated that it “ha[d] extended the scheduled in-service date for the Kemper IGCC to the

fourth quarter 2014 and revised its cost estimate to complete construction to an amount that

exceeds the $2.88 billion cost cap.” That quarter, Southern recorded $150 million in losses

associated with the Kemper Plant.

       126.    On January 28, 2014, Southern filed a report with the SEC claiming the Kemper

Plant would be operational before the end of 2014 and that its revised cost estimate would be $4.06

billion. During that month’s earnings call, Mr. Fanning again placed the blame on Southern’s

“mistake” in agreeing to a price cap prematurely, but reassured shareholders that “construction of

the plant had actually gone pretty darn well” and that the Kemper Plant was “on budget, on

schedule on construction.”

       127.    On February 26, 2014, in response to e-mailed questions from Mr. Wingo regarding

suspicious activity surrounding the official Kemper Plant project scheduling database, Babar

Suleman, a Southern contract scheduler responsible for controlling access to the database,

cautioned Mr. Wingo against further discussions of the suspicious scheduling issues by e-mail.

       128.    On February 27, 2014, Southern filed its 2013 10-K with the SEC. Southern

claimed that the Kemper Plant “is currently scheduled to be placed in service in the fourth quarter

of 2014.” Southern also disclosed that, through the end of 2013, the Company recorded pre-tax



                                                 41
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 43 of 97




charges to income for revisions to the cost estimate of $1.2 billion ($729 million after tax). As

described below, Deloitte issued a “clean audit” on this report, claiming it presented fairly, in all

material respects, the financial position of Southern and its subsidiaries, and that Southern

maintained effective control over financial reporting in all material respects. Southern recorded an

additional $40 million in estimated losses associated with the Kemper Plant for the fourth quarter

2013.

         129.   Also on February 27, 2014, (the same day that PM Alliance withdrew from the

Kemper Project) a noon meeting with Southern and Mississippi Power officials was conducted. At

the meeting, John Huggins, a Mississippi Power vice president, presented the misleading schedule

that by that time several engineers and schedulers had warned was false and misleading. The

schedule claimed the project was 80% likely to finish by December 1, 2014. 41

         130.   Later that night, Mr. Wingo e-mailed John Huggins, warning Mr. Huggins that the

Company had provided the public with misleading scheduling information. Mr. Wingo also

warned that the Company’s “lack of rigor in our project controls are also likely to be in clear and

obvious violation of industry standards, best practices and generally accepted principles which, if

I’m right, puts [the Company] in clear jeopardy with regards to Sarbanes Oxley Compliance.” Mr.

Wingo further warned, “If we continue down the path we’re on, the project will admit schedule

slips only at the last minute, when things can’t be hidden, glossed over or blamed away.” 42

         131.   On March 10, 2014 at 12:03 p.m., Mr. Wingo called Mr. Fanning and warned him

that there was no way that the Kemper Plant project would be completed by the fourth quarter of

2014. During a 21-minute call, Mr. Wingo warned him against signing any financial reports to the




41
     https://www.enwoven.com/collections/view/2914/timeline?eventId=12642.
42
     https://www.enwoven.com/collections/view/2914?content=ZJed0.

                                                  42
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 44 of 97




SEC showing a projected completion of the Kemper Plant project by the end of 2014. Mr. Wingo

explained that there was no way the Kemper Plant project would be completed by then and that

there was “a fraud being perpetrated on the [Kemper Plant] project, that they hijacked the schedule

to make it look like 2014 was achievable.”

         132.   Around this time, Mr. Wingo also reported his concerns to the compliance

department, telling them that the advertised completion date of the end of 2014 was a fraud and

there was no way it was possible, and that he expected that the project was years away.

         133.   On March 13, 2014, a meeting was held between high-level officials at Mississippi

Power and Southern to discuss the fallout of PM Alliance’s departure. Joshua Keller of PM

Alliance was invited and was in attendance at the meeting because Southern wanted to bring PM

Alliance back to the Kemper Plant project. Joshua Keller’s notes regarding the meeting quote Bill

Boyd, the Company’s general manager in charge of Project Planning and Services, as stating

during this meeting that things were changed in the schedule in the past to “protect ourselves.” 43

         134.   In April 2014, Southern filed a Securities and Exchange Commission report

informing federal regulators and shareholders that the Kemper Plant would not be completed by

the end of 2014 and set a new completion date for the first half of 2015. It was the first time

Southern publicly acknowledged the plant would not be ready until 2015.

         135.   On May 5, 2014, analysts at UBS downgraded the Company’s rating to “sell” from

“neutral,” citing the Kemper Plant delays and noting that any costs above $2.9 billion could not be

recovered from Mississippi ratepayers.




43
     https://www.enwoven.com/collections/view/2914/timeline?eventId=12566.

                                                 43
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 45 of 97




         136.   On May 8, 2014, Southern filed its quarterly Form 10-Q with the SEC for first

quarter 2014. Southern revised its cost estimate for the Kemper Plant to “approximately $4.44

billion” and recorded $380 million in estimated losses related to the Kemper Plant that quarter.

Southern stated that it “expects to place the combined cycle and the associated common facilities

portion of the Kemper IGCC project in service in the summer of 2014” and that the “in-service

date for the remainder of the Kemper IGCC is currently expected to occur in the first half of 2015.”

         137.   On May 30, 2014, Mr. Wingo met with Helen Nalley, the Operations Compliance

Director at Southern. In response to Mr. Wingo’s concerns of being asked to leave the schedule

and project management issues to the leadership currently in place even though those leaders were

the same ones who had been proven to be either willful, complicit, or ignorant in fraudulent

scheduling, Mr. Wingo was told to “let it go” and that this was not the first time the Company had

to “let things go.” Mr. Wingo was told that even if the current Kemper Plant project leadership had

violated rules and potentially led executives into breaking federal laws, the leadership could not

be replaced.

         138.   On June 10 and 27, 2014, Mr. Wingo e-mailed Ms. Nalley to follow up on their

May 30, 2014 meeting. In the e-mails, Mr. Wingo also described a “lack of management or

accountability” resulting from intense pressure to meet expectations and stated Company officials

were retroactively filing inspection reports so that the Kemper Plant could be placed into

operation. 44

         139.   On July 21, 2014, a hearing was held before the Mississippi Public Service

Commission. During the hearing, Mr. Zoll testified that management of the project was




44
     https://www.enwoven.com/collections/view/2914/timeline?eventId=12566.

                                                 44
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 46 of 97




incompetent; that the Company delayed acknowledging major cost increases and delays long after

the Company knew or should have known of those changes; as early as November 2012, it was

clear that the Company’s May 2014 completion date was unachievable; that Mr. Zoll highlighted

a projected cost overrun as early as September 2011 that was not acknowledged by the Company

until May 2012; and that the Company reported “no impacts” to the MPSC even though the

Company had missed deadlines and slipped behind schedule.

       140.    During a July 2014 earnings call, Mr. Fanning blamed the challenges of the Kemper

Plant on “unknown unknowns” but gave an estimated first gasifier fire expected later in the year.

In September, Mr. Fanning sold nearly $47 million worth of his Southern shares, more than 90

percent of his stake in the company.

       141.    On August 7, 2014, Southern filed its quarterly Form 10-Q for the second quarter

of 2014. Southern stated that “[d]uring 2014, Mississippi Power further extended the scheduled

in-service date for the Kemper IGCC to the second quarter 2015.” Southern recorded no estimated

losses related to the Kemper Plant during that quarter.

       142.    In August 2014, Mr. Wingo was placed on paid administrative leave by the

Company and Mr. Wingo began recording his telephone conversations with Company officials.

       143.    On September 23, 2014, Mr. Wingo through counsel sent a demand letter to the

Company, claiming he blew the whistle beginning in February 2014 by “loudly and consistently

point[ing] out the schedule fraud” and thereby preventing additional false financial reporting. The

letter claims “[e]veryone involved with the Kemper construction knows, or should know, that

Commercial Operation Date (‘COD’) of May 31, 2015 is not realistic.”




                                                 45
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 47 of 97




       144.    Also in September 2014, Southern filed a Securities and Exchange Commission

report informing federal regulators and shareholders that its new estimated completion date for the

Kemper Plant was the first half of 2016.

       145.    On October 1, 2014, the U.S. Department of Energy updated its contract with the

Company, requiring as conditions for the Company’s continued receipt of federal funds that the

Company, inter alia, file reports whenever delays or adverse conditions impair the Company’s

ability to meet its objectives, and report cost overruns to federal energy officials.

       146.    On October 29, 2014, Mr. Fanning stated during an earnings conference call that

there were $418 million in additional costs for the Kemper Plant project, including $310 million

caused by schedule extensions.

       147.    On November 6, 2014, Southern filed its quarterly 10-Q with the SEC for the third

quarter 2014, where Southern stated, “During 2014, Mississippi Power further extended the

scheduled in-service date for the Kemper IGCC to the first half of 2016 and revised its cost

estimate to complete construction and start-up of the Kemper IGCC.” Southern recorded an

additional $418 million in estimated losses associated with the Kemper Plant that quarter.

       148.    On February 4, 2015, the Company reported during an earnings conference call that

its 2013 results included after-tax charges of $729 million related to increased cost estimates for

construction of the Kemper Plant project.

       149.    On March 2, 2015, Southern filed its annual 10-K with the SEC for 2014. Southern

claimed the Kemper Plant’s “in-service date is currently expected to occur in the first half of 2016.”

Southern recorded an additional $70 million in estimated losses related to the Kemper Plant for

the fourth quarter 2014.




                                                   46
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 48 of 97




       150.    Also on March 2, 2015, Southern filed its Form S-3 Registration Statement Under

the Securities Act. The S-3 Registration Statement was for the purpose of issuing approximately

19 million new common shares of the Company for approximately $ 817 million dollars. Deloitte

was listed by Southern as an Expert. In addition, Deloitte filed a Consent for the inclusion of its

Audit Reports and Opinions on the company’s financial statements.

       151.    On February 14, 2015, Mr. Wingo filed a retaliation claim with OSHA under the

whistleblower provisions of Sarbanes-Oxley. In the filing, Mr. Wingo alleges “willful deception”

at the Kemper Plant, including “decisions being made, shortcuts being taken, concessions being

granted, issues being ignored (some that might classify as safety related-like the measly time

allotted for operator training), too many to list, all in support of a schedule that many of us know

to be a sham.” Mr. Wingo further alleged in the filing that the Company paid millions of dollars

in unnecessary expediting fees and that the Company published incorrect information regarding

the Kemper Plant schedule.

       152.    On February 19, 2015, Southern Company Services, a subsidiary of the Company,

sued Mr. Wingo, alleging that Mr. Wingo had breached an employment termination agreement.

Initially, according to New York Times interviews and court records, the Company had offered

Mr. Wingo $975,000 to remain quiet. After Mr. Wingo refused, the Company filed suit against

him in Jefferson County Circuit Court, alleging he had agreed to a settlement that required him to

keep quiet about the Kemper Plant. The Company obtained a temporary restraining order against

Mr. Wingo in February 2015 forbidding Mr. Wingo to speak publicly about Kemper Plant. Mr.

Wingo denied any such agreement, and the Company eventually dropped its suit in March 2015.

       153.    On March 9, 2015, the Company issued a news release saying the Kemper Plant

reached “one of its most significant milestones to date,” the successful first fire of the plant’s



                                                 47
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 49 of 97




gasifiers. A “first fire” has a very specific engineering definition and should have involved the

“controlled circulation of sand and/or ash inside the various parts of the gasifier.” A “first fire”

should have also involved, among other steps, heating the gasifier to temperatures suitable for

gasification of coal, which is about 1,800 degrees Fahrenheit. (These steps did not actually occur,

as described above.).

        154.    On April 28, 2015, the Company issued promotional materials stating, in part, that

“Mississippi Power has announced that the Kemper project is expected to begin operation in the

first half of 2016.”

        155.    On May 7, 2015, Southern filed its quarterly 10-Q for the first quarter 2015 with

the SEC. Southern stated that the “in-service date for the remainder of the Kemper IGCC is

currently expected to occur int he first half of 2016.” Southern recorded an additional $9 million

in estimated losses associated with the Kemper Plant for that quarter.

        156.    During a July 29, 2015 earnings call, Mr. Fanning assured shareholders that the

unforeseen costs associated with the Kemper Plant were less than the funds that Southern had set

aside for the project. Mr. Fanning stated, “To a large extent, contingencies for cost and schedule

have been sufficient to absorb these activities and the focus remains on the expected end-service

date in the first half of 2016.”

        157.    On August 5, 2015, Southern filed its quarterly Form 10-Q with the SEC for the

second quarter 2015. Southern again stated that the “in-service date for the remainder of the

Kemper IGCC is currently expected to occur in the first half of 2016.” Southern recorded an

additional $23 million in estimated losses associated with the Kemper Plant for the second quarter

2015.




                                                 48
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 50 of 97




         158.   In September 2015, Southern announced a delay in the completion of the Kemper

Plant. In a Form 8-K filed with the SEC, the Company announced that “Mississippi Power now

anticipates the in-service date to occur subsequent to April 19, 2016,” and that this extension would

require Mississippi Power to recapture $234 million in tax credits.

         159.   On September 29, 2015, the Company released a statement stating that the Kemper

Plant was not expected to be operational until after April 19, 2016. Southern again claimed that

“the in-service date for the remainder of the Kemper IGCC is currently expected to occur in the

first half of 2016.” Southern recorded an additional $150 million in estimated losses associated

with the Kemper Plant for that quarter.

         160.   On November 5, 2015, Southern filed its quarterly Form 10-Q with the SEC for the

third quarter 2015. Southern confirmed that the “scheduled in-service date” for the Kemper Plant

is the first half of 2016. Southern recorded an additional $150 million in estimated losses associated

with the Kemper Plant for that quarter.

         161.   On February 2, 2016, Southern filed a Form 8-K with the SEC, stating that it

“currently expects that the Kemper IGCC will be placed in service during the third quarter of

2016.”

         162.   On February 26, 2016, Southern field its annual Form 10-K with the SEC for 2015.

Southern confirmed the in-service date for the Kemper Project was August 31, 2016, and recorded

an additional $183 million in estimated losses associated with the Kemper Plant for the fourth

quarter 2015.

         163.   On March 18, 2016, OSHA made a preliminary determination that the company

violated the Sarbanes-Oxley Act when firing whistleblower Mr. Wingo in February 2016. In the

March 18, 2016 preliminary determination letter sent to Southern, OSHA found “[t]here is



                                                  49
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 51 of 97




evidence that [Mr. Wingo] engaged in activity protected by SOX. [Mr. Wingo] reported improper

financial reporting and scheduling improprieties beginning February 27, 2014.” In the months to

follow, the OSHA letter stated, Mr. Wingo “continued to seek redress of his concerns through the

appropriate chain of command and contends his concerns were not addressed in a timely manner.”

Regarding Mr. Wingo’s termination, OSHA stated the Company “has not offered credible

evidence” that justified Mr. Wingo’s dismissal, and thus found it “reasonable to believe that [Mr.

Wingo’s] engagement in protective activity was a contributing factor to the adverse action taken

by [the Company], namely, not allowing [Mr. Wingo] back to work.”

       164.    On May 5, 2016, Southern filed its quarterly report on Form 10-Q with the SEC for

the first quarter 2016, which included the following statements:

       The SEC is conducting a formal investigation of Southern Company and
       Mississippi Power concerning the estimated costs and expected in-service date of
       the Kemper IGCC. Southern Company and Mississippi Power believe the
       investigation is focused primarily on periods subsequent to 2010 and on accounting
       matters, disclosure controls and procedures, and internal controls over financial
       reporting associated with the Kemper IGCC.

       165.    Southern also represented that the “in-service date for the remainder of the Kemper

IGCC is currently expected to occur in the third quarter 2016.” Southern recorded an additional

$53 million in estimated losses associated with the Kemper Plant for the first quarter 2016.

       166.    On August 8, 2016, Southern filed its quarterly report on Form 10-Q with the SEC

for the second quarter 2016. Southern stated, “The in-service date for the remainder of the Kemper

IGCC is currently expected to occur by October 31, 2016, which reflects a one-month extension.”

Southern recorded an additional $81 million in estimated losses associated with the Kemper Plant

for the second quarter 2016.

       167.    On October 3, 2016, Southern filed a Form 8-K with the SEC, stating that it

“expects that the Kemper IGCC will be placed in service by November 30, 2016.”


                                                 50
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 52 of 97




       168.    On October 28, 2016, Southern filed a Form 8-K with the SEC, confirming that it

“continues to expect that the Kemper IGCC will be placed in service by November 30, 2016.”

       169.    On November 4, 2016, Southern filed its quarterly report on Form 10-Q with the

SEC for the third quarter 2016. Southern told its investors that the “in-service date for the

remainder of the Kemper IGCC is currently expected to occur by December 31, 2016.” Southern

recorded an additional $88 million in estimated losses associated with the Kemper Plant for the

third quarter 2016.

       170.    On December 2, 2016, Southern filed a form 8-K, stating that it “now expects that

the Kemper IGCC will be placed in service during January 2017.”

       171.    On January 31, 2017, Southern filed a form 8-K, stating that “Mississippi Power

now expects that the Kemper IGCC will be placed in service in late February 2017.”

       172.    On January 20, 2017 a class action complaint was filed against Southern Company

and certain of its and Mississippi Power’s officers in the U.S. District Court for the Northern

District of Georgia, Atlanta Division, by Monroe County Employees’ Retirement System on behalf

of all persons who purchased shares of Southern Company’s common stock between April 25,

2012 and October 29, 2013. The complaint alleged that Southern Company and certain of its and

Mississippi Power’s officers made materially false and misleading statements regarding the

Kemper IGCC in violation of certain provisions under the Securities Exchange Act of 1934, as

amended. The complaint sought, among other things, compensatory damages and litigation costs

and attorneys’ fees.

       173.    On February 22, 2017, Southern filed its annual Form 10-K for 2016 with the SEC.

Southern announced a new “expected in-service date of mid-March 2017.” Southern recorded an




                                               51
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 53 of 97




additional $206 million in estimated losses associated with the Kemper Plant for the fourth quarter

2016.

        174.    On February 27, 2017, Jean Vineyard filed a shareholder derivative lawsuit in the

U.S. District Court for the Northern District of Georgia that named as defendants Southern

Company, certain of its directors, certain of its officers, and certain former Mississippi Power

officers. The complaint alleged that the defendants caused Southern Company to make false or

misleading statements regarding the Kemper IGCC cost and schedule. Further, the complaint

alleged that the defendants were unjustly enriched and caused the waste of corporate assets. The

plaintiff sought to recover, on behalf of Southern Company, unspecified actual damages and, on

her own behalf, attorneys’ fees and costs in bringing the lawsuit.

        175.    On March 16, 2017, Southern filed a Form-8K with the SEC, claiming that the

“remainder of the Kemper [Plant] will be place in service by the end of April 2017.”

        176.    On May 1, 2017, Southern filed a Form 8-K with the SEC, claiming it “now expects

the remainder of the Kemper IGCC, including both gasifiers, will be placed in service by the end

of May 2017.”

        177.    On May 3, 2017, Southern filed its quarterly Form 10-Q for the first quarter of 2017

with the SEC. Southern reported that it “currently expects the remainder of the Kemper IGCC,

including both gasifiers, will be placed in service by the end of May 2017.” Southern recorded an

additional $108 million in estimated losses associated with the Kemper Plant for the first quarter

2017.

        178.    On June 28, 2017, Mississippi Power suspended operation and startup of the

gasifier portion of the Kemper IGCC—the key technology that would have made the plant a “clean

coal” plant.



                                                  52
           Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 54 of 97




          179.   On August 2, 2017, Southern filed its quarterly Form 10-Q for the second quarter

of 2017 with the SEC. Southern recorded an additional $3.12 billion in estimated losses associated

with the Kemper Plant for the second quarter 2017.

          180.   On November 1, 2017, Southern filed its quarterly Form 10-Q for the third quarter

of 2017 with the SEC. Southern recorded an additional $34 million in estimated losses associated

with the Kemper Plant for the third quarter 2017.

          181.   On February 21, 2018, Southern filed its annual Form 10-Q for 2017 with the SEC.

Southern recorded an additional $208 million in estimated losses associated with the Kemper Plant

for the fourth quarter 2017.

          182.   Also on February 21, 2018, Southern filed its Form S-3 Registration Statement

Under the Securities Act. The S-3 Registration Statement was for the purpose of issuing

approximately 20 million new common shares of the Company for approximately $904 million.

Deloitte was listed by Southern as an Expert. In addition, Deloitte filed a Consent for the inclusion

of its Audit Reports and Opinions on the company’s financial statements.

          183.   In SEC filings for the first quarter 2018 through the fourth quarter 2019, Southern

continued to trickle out additional estimated losses associated with the Kemper Plant.

          184.   The Company demolished its coal gasification system in October 2021.

          185.   From 2013 through 2019, Southern and Deloitte trickled out over $6.2 billion in

cost overruns as estimated losses in its SEC reporting.

 Date 10-Q                 Amount                   By Year 10-K            Total

 4th Qtr 2012 45           $78,000,000              $78,000,000             $78,000,000




45
     The first estimate loss of $ 78,000,000 was retroactively charged to 2012 in 2013.


                                                   53
      Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 55 of 97




Date 10-Q         Amount             By Year 10-K       Total

1st Qtr 2013      $462,000,000

2nd Qtr 2013      $450,000,000

3rd Qtr 2013      $150,000,000

4th Qtr 2013      $40,000,000        $1,102,000,000     $1,180,000,000

1st Qtr 2014      $380,000,000

2nd Qtr 2014      $0

3rd Qtr 2014      $418,000,000

4th Qtr 2014      $70,000,000        $868,000,000       $2,048,000,000

1st Qtr 2015      $9,000,000

2nd Qtr 2015      $23,000,000

3rd Qtr 2015      $150,000,000

4th Qtr 2015      $183,000,000       $365,000,000       $2,413,000,000

1st Qtr 2016      $53,000,000

2nd Qtr 2016      $81,000,000

3rd Qtr 2016      $88,000,000

4th Qtr 2016      $206,000,000       $428,000,000       $2,841,000,000

1st Qtr 2017      $108,000,000

2nd Qtr 2017      $3,012,000,000

3rd Qtr 2017      $34,000,000

4th Qtr 2017      $208,000,000       $3,362,000,000     $6,203,000,000

1st Qtr 2018      $44,000,000

2nd Qtr 2018      $0


                                    54
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 56 of 97




 Date 10-Q                  Amount                     By Year 10-K               Total

 3rd Qtr 2018               $1,000,000

 4th Qtr 2018               -$8,000,000                $37,000,000                $6,240,000,000

 1st Qtr 2019               $2,000,000

 2nd Qtr 2019               $4,000,000

 3rd Qtr 2019               $4,000,000

 4th Qtr 2019               $14,000,000                $24,000,000                $6,264,000,000



        B.      Deloitte’s Responsibilities as Southern’s Auditor.

        186.    Deloitte has served as Southern’s outside independent auditor since 2002. As set

forth below, Deloitte was responsible for auditing all Southern’s financial statements in its Form-

10Ks relating to the Kemper Plant, including those in the Class Period. As such, Deloitte was

obligated to comply with Public Company Accounting Oversight Board (“PCAOB”) auditing

standards when auditing Southern’s financial statements. In return, Southern has paid Deloitte tens

of millions of dollars in professional fees during the class period.

                1.    Deloitte’s Financial Reporting and Generally Accepted Accounting
                      Principles.

        187.    Southern’s annual financial statements filed with the SEC during the Class Period

included the following, along with the referenced notes to those statements: (1) a Consolidated

Balance Sheet, (2) a Consolidated Statement of Income and Comprehensive Income, (3) a

Consolidated Statement of Cash Flows, and (4) a Consolidated Statement of Changes in Common

(shareholders’) Equity.

        188.    The balance sheet provides a useful snapshot of the liquidity of a company and its

financial stability at a particular point in time, including its assets and liabilities, equity, and capital.


                                                      55
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 57 of 97




       189.    The income statement (sometimes referred to as a profit and loss statement

(“P&L”)) provides information about a company’s revenues and expenses during a particular

period. This type of information helps shareholders to assess historical trends and future

performance and assess the likelihood of receiving adequate returns on their investments or loans.

       190.    The cash flow statement details how much cash a company has at a point in time,

the cash inflows and outflows that have taken place over a given period, the sources of the cash

(e.g., from business operations or from outside lenders or shareholders), and the uses of the cash

(e.g., to fund the company’s operations, pay off financings, or make investments).

       191.    Financial statements must include certain required disclosures to comply with

GAAP. GAAP are principles recognized by the accounting profession as the conventions,

rules, and procedures that define accepted accounting practice at a particular time and is the

SEC’s accounting standard for publicly traded companies.

       192.    Compliance with GAAP enhances the credibility of the information in financial

statements by making sure the information is a relevant, complete, timely, and fair representation

of the economic transactions entered by publicly traded companies and helps provide shareholders

with reliable information in which they can base their investment decisions.

       193.    Shareholders consider various factors when making investment decisions,

including whether they are likely to receive a return on their capital in the interest, dividends, or

an increase in value of the investment. Shareholders largely base their decisions on the information

contained within a company’s financial statements. Thus, one of the fundamental objectives of

financial reporting is to provide useful and accurate financial information to existing and potential

shareholders, and others, in making investment decisions—including buying, selling, or holding




                                                  56
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 58 of 97




equity in a company. 46 A lack of credible and reliable information significantly increases the risk

to shareholders. If financial statements are not prepared in accordance with GAAP, they are

presumed to be inaccurate and misleading. 47

       194.    The Financial Accounting Standards Board (“FASB”) issues and maintains the

FASB Accounting Standards Codification (“ASC”), which organizes the thousands of GAAP

pronouncements into roughly 90 topics. ASC is the current single source of GAAP.

       195.    ASC 980-360 provides guidance for public utility plant abandonments and

disallowance of costs associated with recently completed plants. Among other things, that

provision required Deloitte to remove construction work in progress (CWIP) from the Kemper

Plant as an asset.

               2.    Regulatory Accounting.

       196.    Public utilities are also required to follow Regulatory Accounting that, at times,

supersedes GAAP. Regulatory Accounting requires a company to correlate the timing of revenue

and expenses with the rates approved or disapproved by public service commissions.

       197.    Regulatory Accounting recognizes a concept that electric utilities have only two

sources of funding for operations: (1) electric rates that a utility charges to and recovers from

customers; and (2) shareholder expenses (i.e., any amount a utility is not permitted to recover from

its customers for any reason).

               3.    The Independent Role of the External Auditor.

       198.    A company’s management is responsible for preparing the company’s financial

statements and required disclosures. To ensure financial statements are accurate and GAAP



46
   See generally FASB Statement of Financial Accounting Concepts No. 8 OB2, see also OB3-
OB11.
47
   Regulation S-X (17 C.F.R. §210.4-01(a)(1)).

                                                 57
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 59 of 97




compliant, publicly traded companies are required to hire independent certified public accountants

to audit their financial statements and provide the audited financial statements to the public.

         199.      The objective of the independent audit is to provide an independent, outside opinion

on the fairness of a company’s financial statements (in all material respects), the company’s

financial position, the results of its operations, and its cash flows, in conformance with GAAP.48

In essence, the independent auditor, such as Deloitte, acts as a “gatekeeper” for public securities

by ensuring what the company reports is fair, accurate, and trustworthy. In this respect, an auditor

protects the shareholders’ interest and prevents misconduct by company management. An

auditor’s decisions directly impact the welfare of shareholders and thus, his independence from

the audited company is critical.

         200.      An auditor’s report, especially one from one of the “Big Four” accounting firms

like Deloitte, carries great import. It is the manner through which an auditor expresses or disclaims

an opinion, and whether his audit has been made in accordance with Generally Accepted Auditing

Standards (GAAP). 49 Shareholders rely on these opinions and audited financials to accurately

assess pertinent information concerning the company and to make investment decisions. The

auditor’s report lets shareholders know whether they can rely on the audited financial statements

in making investment related decisions.

         201.      Independent outside auditors are required to act independently and serve as check

against the managers of the company, who face various incentives to make favorable assessments

and disclosures. Indeed, an auditor’s independence is critical to his effectiveness as a gatekeeper.

Auditors may not simply take management’s word for things. An auditor must conduct an




48
     AS 1001.01.
49
     Id.

                                                     58
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 60 of 97




independent and impartial investigation and perform independent procedures and tests to

determine whether the management has made any mistakes in its financial statements, whether

intentional or inadvertent, so that the company’s board of directors and shareholders are aware.

Auditors must also assess whether the financial statement’s form accurately reflects the substance

of the economic activity. 50 For example, a statement that is technically accurate under GAAP may

still be misleading or incomplete and require the auditor to provide additional explanation so that

the company’s activities can be appropriately understood.

       202.    If the financial statements are materially correct and presented fairly in accordance

with GAAP and statutory requirements, an auditor may issue an “unqualified” or “clean” report,

with no exceptions. But when the financial statements materially deviate from GAAP, such as

missed disclosures or inaccurately reported numbers, the auditor is required to highlight that

information in his report so that shareholders and other uses of the financial statements are aware.

This alerts shareholders, lenders, and other users of the financial statements that the credibility of

the financial statements is in question and unreliable. An auditor’s failure to highlight this

information would violate his professional standards. Similarly, an auditor is required to issue a

disclaimer if he is prevented from gathering enough information to properly conduct the audit.

       203.    If an auditor later discovers facts that would have affected his report had he

previously known those facts, he must take certain steps, including disclosing these facts and

revising his report. 51 He must take affirmative steps to make sure that shareholders and others do

not rely on his previous, unrevised report. 52




50
   AS 2815 The Meaning of “Present Fairly in Conformity with Generally Accepted Accounting
Principles.”
51
   AS 2905 Subsequent Discovery of Facts Existing at the Date of the Auditor’s Report.
52
   Id.

                                                  59
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 61 of 97




               4.   Deloitte was obligated to follow PCAOB standards when conducting
                    its audits of Southern’s financial statements.

       204.    The Sarbanes-Oxley Act of 2002 directs the PCAOB to establish auditing and

related professional practice standards and rules for registered public accounting firms to follow

in auditing public companies (“PCAOB Standards”). 53 These standards are the minimum ethical,

performance, and quality standards auditors are required to meet.

       205.    After its founding and prior to December 31, 2016, the PCAOB had adopted many

of the auditing standards developed by the AICPA Auditing Standards Board. Standards during

this time were referred to as either “AU” or “AS” and were periodically revised by PCAOB.

Effective December 31, 2016, PCAOB Standards were reorganized and grouped into five

categories as follows:

       •   General Auditing Standards—Standards on broad auditing principles, concepts,
           activities, and communications;

       •   Audit Procedures—Standards for planning and performing audit procedures and for
           obtaining audit evidence;

       •   Auditor Reporting—Standards for auditors’ reports;

       •   Matters Relating to Filings Under Federal Securities Laws—Standards on certain
           auditor responsibilities relating to U.S. Securities and Exchange Commission filings
           for securities offerings and reviews of interim financial information; and

       •   Other Matters Associated with Audits—Standards for other work performed in
           conjunction with an audit of an issuer or of a broker or dealer. 54

       206.    The new standards are referred to as “AS.” Notably, the reorganization and

amendments to PCAOB Standards as of December 31, 2016, did not impose new requirements on




53
   https://pcaobus.org/oversight/standards, (last visited Jan. 26, 2022).
54
    PCAOB Approves Reorganization of Auditing Standard, March 31, 2015 (available at
https://pcaobus.org/news-events/news-releases/news-release-detail/pcaob-approves-
reorganization-of-auditing-standards-_507).

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        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 62 of 97




auditors or change the substance of the requirements for performing and reporting on audits under

PCAOB standards. 55

       207.    As Southern’s auditor, Deloitte was obligated by law and SEC regulations to follow

PCAOB Standards. Under PCAOB Standards, the objective of an audit is the expression of an

opinion on the fairness with which the financial statements present, in all material respects, the

financial position, results of operations, and the cash flows, in conformity with GAAP. 56 PCAOB

Standards recognize that judgment concerning the “fairness” of financial statements “should” 57 be

applied within the framework of generally accepted accounting principles.” 58

       208.    Accordingly, Deloitte’s audit reports should have been based on its “judgment as

to whether (a) the accounting principles selected and applied have general acceptance; (b) the

accounting principles are appropriate in the circumstances; (c) the financial statements, including

the related notes, are informative of matters that may affect their use, understanding, and

interpretation; 59 (d) the information presented in the financial statements is classified and

summarized in a reasonable manner, that is, neither too detailed nor too condensed; 60 and (e) the

financial statements reflect the underlying transactions and events in a manner that presents the




55
   Reorganization of PCAOB Auditing Standards and Related Amendments to PCAOB Standards
and Rules, PCAOB Release No. 2015-002, March 31, 2015 (available at
https://pcaobus.org/Rulemaking/Docket040/Release_2015_002_Reorganization.pdf).
56
   PCAOB AS 1001.01.
57
   The word “should” reflects that Deloitte’s responsibility to comply with this requirement was
“presumptively mandatory” under PCAOB Standards. To the extent that such a procedure was not
performed, Deloitte was required to perform and document additional audit procedures that
achieved the same result as well as document the reasons why alternative procedures met the
objective of the presumptively mandatory procedure. Similarly, the words “must” or “is required”
indicate an unconditional requirement. PCAOB Rule 3101, Certain Terms Used in Auditing and
Related Professional Practice Standards.
58
   PCAOB AS 2815.
59
   PCAOB AS 2810; AS 2810.31.
60
   PCAOB AS 2810.31.

                                                 61
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 63 of 97




financial position, results of operations, and cash flows stated within a range of acceptable limits,

that is, limits that are reasonable and practicable to attain in financial statements.” 61

        209.    To achieve this, Deloitte was required to plan and perform audit procedures to

obtain “reasonable assurance” as to whether Southern’s financial statements were free of material

misstatement, whether caused of error or fraud. 62 PCAOB Standards recognize that “reasonable

assurance” generally means “a high level” of assurance. 63

                5.   Deloitte was required to exercise due professional care and
                     professional skepticism when auditing Southern’s financial statements.

        210.    To obtain “reasonable assurance” PCAOB Standards require an auditor to reduce

audit risk to an appropriately low level though the application of due professional care. 64 The

exercise of due professional care required that Deloitte use its “knowledge, skill, and ability called

for by the profession of public accounting to diligently perform, in good faith and with integrity,

the gathering and objective evaluation of evidence” to support its audit. 65

        211.    Due professional care also required Deloitte exercise professional skepticism—i.e.,

to conduct its investigation with a questioning mind and critically assess audit evidence. 66

Accordingly, Deloitte’s “responses to the assessed risks of material misstatement, 67 particularly

fraud risks, should [have] involve[ed] the application of professional skepticism in gathering and

evaluating audit evidence.” 68




61
   PCAOB AS 2815.04.
62
   PCAOB AS 1001.01; see also AS 2015.
63
   PCAOB AS 1015; 1015.10.
64
   PCAOB AS 1105; PCAOB AS 2301; PCAOB AS 2301.08.
65
   PCAOB AS 1015.07.
66
   PCAOB AS 1015.07-09.
67
   PCAOB AS 1101.05.
68
   PCAOB AS 2301.07.

                                                    62
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 64 of 97




                6.   Deloitte was required to understand Southern’s business and to identify
                     and respond to red flags affecting Southern’s financial statements.

         212.   Deloitte was required to perform risk assessment procedures “sufficient to provide

a reasonable basis for identifying and assessing” the risks of material misstatements affecting

Southern’s financial statements. 69 In assessing this risk, Deloitte was required to understand

Southern’s business, including:

     •   The nature of the company, including the company’s organizational structure and
         management personnel, key personnel, key supplier and customer relationships, sources of
         funding of the company’s operations and investment activities and other debt instruments,
         significant investments, joint ventures and the Company’s operating characteristics,
         including its size and complexity; 70

     •   Relevant industry, regulatory, and other external factors affecting the company, including
         an understanding of relevant industry, regulatory, and other external factors encompasses
         industry factors, including the competitive environment and technological developments;
         the regulatory environment, including the applicable financial reporting framework and the
         legal and political environment; and external factors, including general economic
         conditions; and 71

     •   The Company’s objectives and strategies and those related business risks that might
         reasonably be expected to result in risks of material misstatement, including industry
         developments, expansion of the business, current and prospective financing requirements
         and regulatory requirements (including increased legal exposure). 72

         213.   This requirement included, among other things, Deloitte understanding the

regulatory environment and the implications of illegal acts that would materially affect Southern’s

financial statements, including, for example, any misrepresentations made to regulators (such as

MPSC), that could impact the financial statements and violations related to GAAP and SEC

disclosure requirements.




69
   PCAOB AS 1101.05.
70
   PCAOB AS 2110.10.
71
   PCAOB AS 2110.09; PCAOB AS 1101; PCAOB AS 2110.09; and PCAOB AS 2301.
72
   PCAOB AS 2110.15.

                                                 63
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 65 of 97




         214.   Southern’s    financial   statements,   including    the   notes,   made    numerous

representations 73 regarding the Kemper Plant, including but not limited to: (1) the expected

completion of the Kemper Plant; (2) capitalized construction work in progress related to the

Kemper Plant; (3) regulatory rate revisions and related pending, approved, or denied regulatory

order related to the Kemper Plant; (4) anticipated tax credits; and (5) the cost in excess of the $2.88

billion dollars, that could not be recovered from the customer, and therefore borne by the

shareholders.

         215.    Given these assertions, Deloitte was required to obtain an understanding as to these

matters so that it could “understand the events, conditions, and company activities that might

reasonably be expected to have a significant effect on the risks of material misstatement” 74 on

Southern’s financial statements, including but not limited to:

     •   Regulatory matters affecting the Kemper Plant, including rate applications and orders and
         their implications for financial statement reporting, including construction cost in excess
         of $2.88 billion dollars that would be borne by the shareholders;

     •   Southern’s ability to recover costs associated with the Kemper Plant though ratepayers and
         the factors, conditions, and requirements, that would affect rate recovery;

     •   Communications between Southern and its regulators, including the MPSC;

     •   How the construction of the Kemper Plant was to be overseen and managed from the
         beginning to the completion of the project. This included the project and financial
         reporting controls over the recording of contingencies, costs, measurement of project
         historical performance, projected project completion dates, and the filing of the


73
   PCAOB standards recognize that those assertions can be classified into the following categories:
(1) Existence or occurrence – Assets or liabilities of the company exist at a given date, and recorded
transactions have occurred during a given period, (2) Completeness – All transactions and accounts
that should be presented in the financial statements are so included, (3) Valuation or allocation –
Asset, liability, equity, revenue, and expense components have been included in the financial
statements at appropriate amounts, (4) Rights and obligations – The company holds or controls
rights to the assets, and liabilities are obligations of the company at a given date, and (5)
Presentation and disclosure – The components of the financial statements are properly classified,
described, and disclosed. PCAOB AS § 1105.11. (emphasis added).
74
   AS 2110.07.

                                                   64
    Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 66 of 97




    necessary annual rate application filings. In this respect, Deloitte should have also read
    the original construction contract and consider the implications of the contract with
    respect to Southern’s financial reporting. This would have included any language
    related to project management, schedules, costs, claims, and changes;

•   The Company’s policies, processes, procedures and related internal controls for monitoring
    and supervising the construction of the Kemper Plant. This would include understanding:
    (1) significant reports from external consultants hired, as well as internal reports, issued in
    connection with the Kemper Plant; (ii) who was conducting the monitoring and supervision
    at the Kemper Plant, how often reviews occurred, what the review entailed, what
    qualifications such reviewers had and how were such reviews were evidenced and
    documented; (iii) who had approval authority and at what levels for changes in either costs
    and/or schedules associated with the Kemper Plant; and (iv) how Kemper Plant related
    claims were processed and approved, including the role of the Kemper Plant engineers,
    accounting, and legal departments;

•   Internal audit reports related to the Kemper Plant, if any;

•   The timeline for the construction and operation of the Kemper Plant, including the
    estimated completion date, key project milestones, deliverables, and expected costs;

•   The “run rate” and percentage of completion on costs on an ongoing basis and as compared
    to the physical completion percentage of applicable milestones;

•   Movement or changes (especially delays) in the expected (projected) completion dates, the
    quantified impact of delays and changes on costs, any construction claims that had been
    proposed/submitted, the response of the Company to those, and the new expected
    completion dates and costs. This would include: (i) the specific reasons for delays and the
    impact of those reasons on the timeline as well as on the costs, and (ii) whether or not there
    were any differences of opinion between those expressed by the engineers and project
    managers, Southern, and outside retained consultants;

•   Kemper Plant management related reports and or documented summaries provided to
    executives evident in the Company’s Board of Directors and applicable subcommittees
    related minutes and MPSC; and

•   Tax law related to tax credits Southern expected to receive in connection with the Kemper
    Plant, including the requirements to obtain said tax credits, such as project deadlines.




                                               65
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 67 of 97




        216.    With this understanding, Deloitte was then required to assess the risk of material

misstatement on both the fraudulent statements and disclosure in the footnotes to the financial

statements, 75 and the assertion level.

        217.    As explained above, Southern’s ability to recover its investment in the Kemper

Plant was subject to multiple uncertainties and risks. Of particular importance was its ability to

meet its costs and schedule forecasts.

        218.    As Deloitte acknowledged, “accounting for the economics of rate regulation

impacts multiple financial statement line items and disclosures, including, but not limited to,

property, plant, and equipment; other regulatory assets; other regulatory liabilities; other cost of

removal obligations; deferred charges and credits related to income taxes; under and over

recovered regulatory clause revenues; operating revenues; operations and maintenance expenses;

and depreciation.” 76 The MPSC “sets the rates the regulated utility subsidiaries are permitted to

charge customers based on allowable costs, including a reasonable return on capital. Rates are

determined and approved in regulatory proceedings based on an analysis of the applicable

regulated subsidiary’s costs to provide utility service and a return on, and recovery of, its

investment in the utility business. As a result, current and future regulatory decisions can have an

impact on the recovery of costs, the rate of return earned on investments, and the timing and




75
   “Risks of material misstatement at the financial statement level relate pervasively to the financial
statements as a whole and potentially affect many assertions. Risks of material misstatement at the
financial statement level may be especially relevant to the auditor’s consideration of the risk of
material misstatement due to fraud. For example, an ineffective control environment, a lack of
sufficient capital to continue operations, and declining conditions affecting the company's industry
might create pressures or opportunities for management to manipulate the financial statements,
leading to higher risk of material misstatement.” AS § 1101.06.
76
   Deloitte Audit Report, Southern, dated February 19, 2020, at 2.

                                                   66
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 68 of 97




amount of assets to be recovered by rates. [MPSC’s] regulation of rates is premised on the full

recovery of prudently incurred costs and a reasonable rate of return on invested capital.” 77

         219.   Deloitte should have employed auditing procedures relating to the uncertainty of

MSPC’s future decisions that included at least the following:

     •   Testing the effectiveness of management’s controls over the evaluation of the likelihood
         of (1) the recovery in future rates of costs incurred as property, plant, and equipment and
         deferred as regulatory assets, and (2) a refund or a future reduction in rates that should be
         reported as regulatory liabilities, as well as the effectiveness of management’s controls
         over the initial recognition of amounts as property, plant, and equipment; regulatory assets
         or liabilities; and the monitoring and evaluation of regulatory developments that may have
         a material effect on the financial statements and accompanying disclosures. This would
         include a material affect arising from the likelihood of recovering costs in future rates or
         of a future reduction in rates. 78

     •   Reading the relevant regulatory orders issued by MPSC, regulatory statutes,
         interpretations, procedural memorandums, filings made by intervenors, and other publicly
         available information to assess the likelihood of recovery in future rates or of a future
         reduction in rates based on precedence of the MPSC’s treatment of similar costs under
         similar circumstances. 79

     •   Conducting a comparison of external information to management’s recorded regulatory
         asset and liability balances for completeness. 80

     •   Inspection of filings with the MPSC by both Southern and other interested parties that
         could impact Southern’s future rates for any evidence that might contradict management’s
         assertions. 81

     •   Evaluation of regulatory filings for any evidence that intervenors are challenging full
         recovery of the cost of any capital projects. 82




77
   Id.
78
   Id. See also PCAOB AS 2201.
79
   See, e.g., PCAOB AS 1105; PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB
AS 2401.
80
    Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.
81
    Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.
82
    Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.

                                                   67
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 69 of 97




     •   Testing selected costs included in the capitalized project costs for completeness,
         accuracy. 83, and recoverability through rates from customers, recognizing that any amount
         in excess of $2.88 billion dollars would be borne by shareholders.

     •   Obtainment of representations from management regarding probability of recovery for
         regulatory assets or refund or future reduction in rates for regulatory liabilities to assess
         management’s assertion that amounts are probable of recovery, refund, or a future
         reduction in rates. 84

     •   Evaluation of Southern’s disclosures related to the impacts of rate regulation, including the
         balances recorded and regulatory developments. 85

         220.    Similarly, Southern’s cost and schedule forecasts were also subject to numerous

uncertainties which could impact Southern’s cost recover on the Kemper Plant, including:

         [C]hallenges with management of contractors and vendors; subcontractor
         performance; supervision of craft labor and related craft labor productivity,
         particularly in the installation of electrical and mechanical commodities, ability to
         attract and retain craft labor, and/or related cost escalation; procurement,
         fabrication, delivery, assembly, installation, system turnover, and the initial testing
         and start-up, including any required engineering changes or any remediation related
         thereto, of plant systems, structures, or components (some of which are based on
         new technology that only within the last few years began initial operation . . .) or
         regional transmission upgrades, any of which may require additional labor and/or
         materials; or other issues that could arise and change the projected schedule and
         estimated cost. 86

         221.   As a result, and as Deloitte also subsequently admitted in the context of a similar

audit, it should have “identified as a critical audit matter the evaluation of these disclosures which

involved significant audit effort requiring specialized industry and construction expertise,




83
   Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.
84
   Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 2805.
85
   Deloitte Audit Report, Southern, dated February 19, 2020; see, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110, PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405;
PCAOB AS 2815.
86
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4.

                                                    68
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 70 of 97




extensive knowledge of rate regulation, and difficult and subjective judgments.” 87 Its audit

procedures should have included at least the following:

     •       Testing of the effectiveness of internal controls over the on-going evaluation and
             monitoring of the construction schedule and capital cost forecast and over the
             disclosure of matters related to the construction and ultimate cost recovery of the
             Kemper Plant. 88

     •       Collaboration with construction specialists to assist in Deloitte’s evaluation of
             Southern’s processes for on-going evaluation and monitoring of the construction
             schedule and cost forecast and to assess the disclosures of challenges to the
             achievement of such forecasts. 89

     •      Attendance at meetings with Southern officials, project managers (including
            contractors), independent regulatory monitors, to evaluate and monitor construction
            status and identify cost and schedule challenges. 90

     •       Review of reports of external independent monitors employed by MPSC to monitor
             the status of construction at the Kemper Plant and to evaluate the completeness of
             Southern’s disclosure of challenges to the achievement of cost and schedule
             forecasts. 91

     •       Inquiry of Southern’s officials and project managers regarding the status of
             construction, the construction schedule, and cost forecasts to assess the financial
             statement disclosures with respect to project status and potential risks and
             uncertainties to the achievement of such forecasts. 92

     •       Inspection of regulatory filings and transcripts of MPSC hearings regarding
             the construction of the Kemper Plant to identify potential challenges to the
             recovery of Southern’s construction costs and to evaluate the disclosures with
             respect to such uncertainties. 93


87
   Id.
88
   Id. See, e.g., PCAOB AS 2201.
89
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 1210; PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401;
PCAOB AS 2405.
90
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301.
91
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301.
92
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301.
93
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.

                                                69
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 71 of 97




      •          Inquiry of Southern’s management and internal and external legal counsel
                 regarding any potential legal actions or issues arising from project construction or
                 issues involving the co-owners of the project. 94

      •          Comparison of the financial statement disclosures relating to this matter to the
                 information gathered through the conduct of all Deloitte’s procedures to
                 evaluate whether there were omissions relating to significant facts or
                 uncertainties regarding the status of construction or other factors which could
                 impact the ultimate cost recovery of the Kemper Plant. 95

      •          Obtaining representations from management regarding disclosure of all
                 matters related tothe cost and/or status, including matters related to a co-owner
                 or regulatory development, that could result in a potential disallowance of
                 costs related to the construction of the Kemper Plant. 96

                  7.    Deloitte was responsible for obtaining sufficient appropriate evidence
                        to afford a reasonable basis for its audit report of Southern’s financial
                        statements.

          222.    Deloitte was required to “plan and perform audit procedures to obtain sufficient

appropriate audit evidence to provide a reasonable basis” for its audit report relating to the Kemper

Project. 97

          223.    Under PCAOB Standards, auditors “should not be satisfied with less than

persuasive evidence because of a belief that management is honest.” 98 In developing its audit

report, Deloitte should have “take[n] into account all relevant audit evidence, regardless of whether

it appears to corroborate or to contradict the assertions in the financial statements.” 99




94
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 2401;
PCAOB AS 2405; PCAOB AS 2805.
95
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 1105;
PCAOB AS 2101; PCAOB AS 2110; PCAOB AS 2301; PCAOB AS 2401; PCAOB AS 2405.
96
   Deloitte Audit Report, Southern, dated February 19, 2020, at 4. See, e.g., PCAOB AS 2401;
PCAOB AS 2405; PCAOB AS 2805.
97
   PCAOB AS 1105.04.
98
   PCAOB AS 1015.09.
99
   PCAOB AS 2810.03.

                                                     70
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 72 of 97




        224.    When the auditor obtains audit evidence during the course of the audit that

contradicts or is inconsistent with the audit evidence on which the auditor originally based his or

her risk assessment, PCAOB Standards state that the auditor “should revise the related risk

assessments and modify the planned nature, timing, or extent of substantive procedures covering

the remaining period as necessary,” in response to the revised risk assessments. 100 To the extent

Deloitte obtained audit evidence from one source that was inconsistent with that obtained from

another, or if Deloitte had doubts about the reliability of information to be used as audit evidence

during its audits related to the Kemper Project, PCAOB Standards note that Deloitte “should

perform the audit procedures necessary to resolve the matter and should determine the effect, if

any, on other aspects of the audit.” 101

        225.    PCAOB Staff Practice Alert No. 8 states:

        PCAOB standards require auditors to design and perform audit procedures in a
        manner that addresses the assessed risks of material misstatement and to obtain
        more persuasive evidence the higher the assessment of risk.[] The auditor is
        required to apply professional skepticism, which includes a critical assessment of
        the audit evidence.[] Substantive procedures generally provide persuasive
        evidence when they are designed and performed to obtain evidence that is relevant
        and reliable.[] When discussing the characteristics of reliable audit evidence,
        PCAOB standards observe that generally, among other things, evidence obtained
        from a knowledgeable source independent of the company is more reliable than
        evidence obtained only from internal company sources and evidence obtained
        directly by the auditor is more reliable than evidence obtained indirectly.[] Taken
        together, this means that in higher risk areas, the auditor’s appropriate application
        of professional skepticism should result in procedures that are focused on
        obtaining evidence that is more relevant and reliable, such as evidence obtained
        directly and evidence obtained from independent, knowledgeable sources.[]



100
    PCAOB AS 2301.11. See also PCAOB AS 2110.74 which states: “The auditor’s assessment
of the risks of material misstatement, including fraud risks, should continue throughout the audit.
When the auditor obtains audit evidence during the course of the audit that contradicts the audit
evidence on which the auditor originally based his or her risk assessment, the auditor should revise
the risk assessment and modify planned audit procedures or perform additional procedures in
response to the revised risk assessments.”
101
    PCAOB AS 1105.29.

                                                  71
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 73 of 97




         Further, if audit evidence obtained from one source is inconsistent with that
         obtained from another, the auditor should perform the audit procedures necessary
         to resolve the matter and should determine the effect, if any, on other aspects of
         the audit.

         226.   Here, Deloitte’s evaluation of Southern’s audit results was presumptively required

to include an evaluation of several items, including the following:

            •   The presentation of the financial statements, including the disclosures;

            •   Misstatements accumulated during the audit, including, in particular, uncorrected

                misstatements;

            •   Conditions identified during the audit that relate to the assessment of the risk of

                material misstatement due to fraud (“fraud risk”); and

            •   The sufficiency and appropriateness of the audit evidence obtained. 102

                8.   Deloitte was required to review Southern’s quarterly statements on
                     Forms 10-Q filed with the SEC.

         227.   Although Deloitte was not required to issue a written report on Southern’s interim

financial information, included in the 10-Q, pursuant to Rule 10-01(d) of Regulation S-X, Deloitte

was required to conduct a review of the statements included in Southern’s Quarterly Report on

Form 10-Q prior to its filing with the SEC. Southern was also required by the SEC to engage an

independent accountant to review its interim financial information, in accordance with PCOAB

standards, before Southern filed its quarterly reports. 103

         228.   The objective of a review of interim financial information differs from that of an

audit. The purpose of such objective reviews was to provide Deloitte with a basis for

communicating to Southern’s management and Audit Committee whether it was aware of any




102
      PCAOB AS 2810.04.
103
      PCAOB AS 4105.03.

                                                   72
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 74 of 97




material modifications that should be made to the interim financial information for it to conform

with GAAP. 104

       229.    To satisfy this objective, PCAOB Standards required that Deloitte perform

certain analytical procedures and make inquiries of persons responsible for financial and

accounting matters. 105 To the extent Deloitte became aware of information that led it to

conclude that the interim financial information may not be presented in accordance with

GAAP, it was required tomake additional inquiries or perform other procedures to provide a

basis for communicating whether it is aware of any material modifications that should be

made to the interim financial information. 106 Deloitte was required to communicate its finding

in writing to the Audit Committee of Southern. If those findings were adverse to what was

disclosed in the Form 10-Q and Southern refused to correct the material misstatements to

make them not misleading, Deloitte would have been required to resign as Southern’s External

Auditor.

       C.      Deloitte’s audits of Southern’s 10-Ks were “no audits at all.”

       230.    Prior to and throughout the class period, Southern filed its annual reports on Forms

10-K, spanning the years ending on December 31, 2012-December 31, 2020.

       231.    Deloitte issued unqualified “clean” audit reports on these financial statements, in

which Deloitte represented that it had audited the consolidated balance sheets of Southern and its

subsidiary companies (collectively referred to by Deloitte as “Southern” or “the Company”), and

the related consolidated statements of income, comprehensive income, stockholders’ equity, and




104
    PCAOB AS 4105.07.
105
    Id.
106
    PCAOB AS 4105.22.

                                                 73
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 75 of 97




cash flows for each of the three years indicated in each audit and the related notes (collectively

referred to by Deloitte as the “financial statements”).

       232.    Deloitte claimed that it had audited these financial statements “in accordance with

the standards of the PCAOB . . . to obtain a reasonable assurance about whether the financial

statements are free of material misstatement, whether due to error of fraud, and whether effective

internal control over financial reporting was maintained in all material respects.” Deloitte

represented that its audits provided “a reasonable basis” for its opinions on Southern’s financial

statements.

       We conducted our audits in accordance with the standards of the Public Company
       Accounting Oversight Board (United States). Those standards require that we plan
       and perform the audit to obtain reasonable assurance about whether the financial
       statements are free of material misstatement and whether effective internal control
       over financial reporting was maintained in all material respects. Our audits of the
       financial statements included examining, on a test basis, evidence supporting the
       amounts and disclosures in the financial statements, assessing the accounting
       principles used and significant estimates made by management, and evaluating the
       overall financial statement presentation. Our audit of internal control over financial
       reporting included obtaining an understanding of internal control over financial
       reporting, assessing the risk that a material weakness exists, and testing and
       evaluating the design and operating effectiveness of internal control based on the
       assessed risk. Our audits also included performing such other procedures as we
       considered necessary in the circumstances. We believe that our audits provide a
       reasonable basis for our opinions.

       233.    Deloitte concluded that, in its opinion, the consolidated financial statements

“present[ed] fairly, in all material respects, the financial position of Southern and Subsidiary

Companies. . . and the results of their operations and their cash flows for each of the three years in

the [reporting] period. . . in conformity with accounting principles generally accepted in the United

States of America. 107



107
   See, e.g., 2012 Form 10-K at II-10; 2013 Form 10-K at II-10; 2014 Form 10-K at II-9; 2015
Form 10-K at II-9; 2016 Form 10-K at II-9; 2017 Form 10-K at II-9; 2018 Form 10-K at II-216;
2019 Form 10-K at II-124.

                                                  74
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 76 of 97




        234.    Deloitte also specifically stated that it had “audited Southern’s internal control over

financial reporting” based on criteria established in Internal Control – Integrated Framework”

issued by the Committee of Sponsoring Organizations of the Treadway Commission. Deloitte

acknowledged that:

        A company’s internal control over financial reporting is a process designed by, or
        under the supervision of, the company’s principal executive and principal financial
        officers, or persons performing similar functions, and effected by the company’s
        board of directors, management, and other personnel to provide reasonable
        assurance regarding the reliability of financial reporting and the preparation of
        financial statements for external purposes in accordance with generally accepted
        accounting principles. A company’s internal control over financial reporting
        includes those policies and procedures that (1) pertain to the maintenance of records
        that, in reasonable detail, accurately and fairly reflect the transactions and
        dispositions of the assets of the company; (2) provide reasonable assurance that
        transactions are recorded as necessary to permit preparation of financial statements
        in accordance with generally accepted accounting principles, and that receipts and
        expenditures of the company are being made only in accordance with authorizations
        of management and directors of the company; and (3) provide reasonable assurance
        regarding prevention or timely detection of unauthorized acquisition, use, or
        disposition of the company’s assets that could have a material effect on the financial
        statements.

        235.    Deloitte stated that in its opinion, “the Company maintained, in all material

respects, effective internal control over financial reporting . . . based on the criteria established in

Internal Control – Integrated Framework” issued by the Committee of Sponsoring Organizations

of the Treadway Commission.

        236.    These statements were false and misleading because Deloitte did not conduct its

audit in accordance with the PCAOB standards (described above). Specifically, Deloitte either

intentionally or recklessly failed to obtain sufficient audit evidence to provide reasonable

assurance that (1) the Kemper Plant would be completed within the time and budget estimates

provided by Southern (to the contrary, evidence available to Deloitte showed that these deadlines

were not realistic and not made in good faith); (2) the losses incurred in connection with the

Kemper Plant were properly estimated and recorded as losses at the time they were reasonably

                                                   75
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 77 of 97




estimable (to the contrary, Deloitte permitted Southern to incrementally recognize $6.2 billion in

losses related to the Kemper Plant for 26 quarters all borne by the shareholders of the company);

and (3) Southern could properly claim billions of dollars in construction work in progress as an

asset on its balance sheets (to the contrary, there was sufficient evidence that these costs could

never be passed onto the ratepayers, and therefore would be borne by the shareholders, due to the

project delays, cost overruns, and ultimate failure of the project, and therefore, claiming these costs

as assets violated ASC 98-360).

       237.    Deloitte had access to evidence disproving the above, as Southern had also engaged

Deloitte specifically to audit and review Kemper Plant costs. This engagement provided Deloitte

with, among other things, historical day-to-day performance information, internal memoranda,

expert and consultant materials, monthly reports and other information indicating the project was

in jeopardy.

       238.    Mississippi Power’s Comptroller, Cynthia Shaw, testified before the MPSC in a

2015 prudency hearing that the Company had engaged Deloitte to audit and review Kemper Plant

costs from various perspectives and differing auditing objectives. She also testified that Mississippi

Power’s accounting and cost tracking procedures complied with GAAP and were subject to the

Southern’s internal controls framework for financial reporting—which were audited by Deloitte.

       239.    Ms. Shaw testified, “[i]n accordance with GAAP, probable losses that can be

estimated must be charged against its earnings. Accounting Standards Codification (ASC) 450-20-

25-2 explains the criteria for accrual and disclosure as shown below:

       An estimated loss from a loss contingency shall be accrued by a charge to income
       if both of the following conditions are met:

       a. Information available before the financial statements are issued or are available
       to be issued (as discussed in Section 855-10-25 indicates that it is probable that an
       asset had been impaired or a liability had been incurred at the date of the financial
       statements. Date of the financial statements means the end of the most recent

                                                   76
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 78 of 97




       accounting period for which financial statements are being presented. It is implicit
       in this condition that it must be probable that one or more future events will occur
       confirming the fact of the loss.

       b. The amount of loss can be reasonably estimated.


       240.    She testified the that the costs associated with the Kemper Plant were appropriately

recorded and that Deloitte had audited or reviewed Kemper Plant project costs and that the actual

expenditures associated with the Kemper Plant were fairly stated.

       241.    Given Deloitte’s position as, not only Southern’s independent auditor for its SEC

filings, but as the auditor for Kemper Plant costs specifically, Deloitte had access to evidence that

would have clearly negated the costs and budget estimates Southern provided its shareholders, the

total estimable losses incurred in connection with the Kemper Plant and timing of recognition of

these losses borne by the shareholders of the company, and Southern’s inability to claim work in

progress on the Kemper Plant as an asset, in accordance with ASC 98-360. Such evidence included,

but was not limited to, key communication and project management and status reports, planning

documents, budget estimates, key deliverables, interviews with project managers and engineers,

the Independent Monitor’s reports, orders and communications between Southern and its

regulators, capital expenditure summaries, and communication with the Company’s board of

directors and key figures associated with the Kemper Project, and other evidence.

       242.    These statements were also materially false and misleading when made because

Deloitte recklessly or intentionally ignored numerous red flags indicating that Southern’s annual

report and financial statements were materially misstated and omitted material information

regarding the status of the Kemper Plant, the true nature and sum of the losses associated with the

Kemper Plant, and Southern’s ability to recover any portion of these losses from the ratepayers.




                                                  77
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 79 of 97




       243.    These statements were also materially false and misleading when made because

Southern did not maintain effective internal control over financial reporting and Deloitte failed to

properly assess the risk that a material weakness existed in Southern’s financial reporting as a

result. Deloitte knew, or should have known, that significant inconsistencies existed between the

Kemper Plant related accounting in Southern’s financial statements and the disclosures and other

information Deloitte obtained concerning the Kemper Plant’s costs and schedule. These

inconsistencies revealed that Southern’s internal controls were not properly designed or operating

effectively—or that they were being ignored by Southern altogether.

       244.    The Sarbanes-Oxley Act of 2002 (“SOX”) required Deloitte to audit and express

an opinion on the effectiveness of Southern’s internal control over financial reporting in order to

bring information about any material weaknesses to public view. 108 A material weakness is a

deficiency, or a combination of deficiencies, in internal control over financial reporting, such that

there is a reasonable possibility 109 that a material misstatement of the company’s annual or interim

financial statements will not be prevented or detected on a timely basis. 110




108
    SEC Release No. 33-8810, see II.B.3, at 38.
109
    There is a “reasonable possibility” of an event, as used in this standard, when the likelihood of
the event is either “reasonably possible” or “probable,” as those terms are used in ASC 450,
Accounting for Contingencies. PCAOB AS 2201.A7.
110
    PCAOB 2201.A7 “An internal control over financial reporting deficiency exists when the
design or operation of a control does not allow management or employees, in the normal course
of performing their assigned functions, to prevent or detect misstatements on a timely basis. A
deficiency in internal control over financial reporting may pertain to either a deficiency in design
or operation. As set forth under PCAOB AS 2201.A3, a design deficiency “exists when “(a) a
control necessary to meet the control objective is missing or (b) an existing control is not properly
designed so that, even if the control operates as designed, the control objective would not be met.”
An operating deficiency “exists when a properly designed control does not operate as designed, or
when the person performing the control does not possess the necessary authority or competence to
perform the control effectively.”

                                                  78
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 80 of 97




         245.   Deloitte’s report on internal controls failed to report the fact that Southern

consistently failed to properly estimate and timely disclose $6.2 billion of cost overruns ultimately

incurred as a failure to meet COD. This $6.2 billion was ultimately born by Southern’s

shareholders.

         246.   Because a company’s internal controls cannot be considered effective if one or

more material weaknesses exist, to form a basis for its report, Deloitte was required to obtain

sufficient evidence to determine with reasonable assurance whether any material weaknesses

existed as of the dates of its audits. This assessment “underlies the entire audit process,” and should

include a “determination of significant accounts and disclosures and relevant assertions, the

selection of controls to test, and the determination of the evidence necessary for a given controls.111

         247.   A direct relationship exists between the degree of risk that a material weakness

could exist and the amount of audit attention that should be devoted to that area. As the risk

associated with the internal control increases, the evidence the auditor must obtain also increases.

If deviations from a company’s asserted controls exist, the auditor is required to “determine the

effect of the deviations on his or her assessment of the risk associated with the control being tested

and the evidence to be obtained, as well as on the operating effectiveness of the control.” 112

         248.   Because contradictory information was evident, as discussed above, Deloitte was

required to consider whether the inconsistencies indicated that Southern’s internal controls, such

as management’s monitoring and supervision of the work in progress and construction of the

Kemper Plant (including scheduling and cost overruns), Southern’s evaluation of its ability to

recover losses associated with the Kemper Plant through its ratepayers, Southern’s monitoring




111
      PCAOB AS 2201.03; PCAOB AS 2201.10.
112
      PCAOB AS 2201.11; PCAOB AS 2201.46; PCAOB AS 2201.48.

                                                   79
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 81 of 97




regulatory developments that might impact its cost recovery and other liabilities, Southern’s its

disclosure controls related to the Kemper Plant, were deficient.

        249.   Because Deloitte knew (or should have known) that these areas were deficient,

PCAOB Standards also required that Deloitte evaluate the severity of each control deficiency that

came to its attention to determine whether the deficiencies, individually or in combination, are

material weaknesses as of the date of management’s assessment. 113

        250.   Accordingly, Deloitte’s clean audit reports on Southern’s internal control over

financing reporting were intentionally or knowingly and recklessly false and misleading when

made.

        D.     Deloitte failed to take required action concerning material misstatements in
               Southern’s 10-Qs.

        251.   Prior to and throughout the class period, Southern filed its quarterly reports on

Forms 10-Q, spanning the years ending on December 31, 2012-December 31, 2020.

        252.   Pursuant to Rule 10-01(d) of Regulation S-X, Deloitte was required to conduct a

review of Southern’s interim financial statements included in its Quarterly Report on Form 10-Q

prior to its filing with the SEC during the Class Period. 114 PCAOB Standard AS 4105115



113
    PCAOB AS 2201.62.
114
    SEC Regulation S-X, Rule 10-01(d) - “Interim review by independent public accountant.
Prior to filing, interim financial statements included in quarterly reports on Form 10-Q (17
CFR 249.308(a)) must be reviewed by an independent public accountant using applicable
professional standards and procedures for conducting such reviews, as may be modified or
supplemented by the Commission. If, in any filing, the company states that interim financial
statements have beenreviewed by an independent public accountant, a report of the accountant
on the review must be filed with the interim financial statements.”
115
     “The Securities and Exchange Commission (SEC) requires a registrant to engage an
independent accountant to review the registrant's interim financial information, in accordance with
this section, before the registrant files its quarterly report on Form 10-Q or Form 10-QSB. The
SEC also requires management, with the participation of the principal executive and financial
officers (the certifying officers) to make certain quarterly and annual certifications with respect to
the company's internal control over financial reporting.”

                                                  80
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 82 of 97




recognizes that the objective of a review of interim financial information is to provide the

accountant with a basis for communicating whether he or she is aware of any material

modifications that should be made to the interim financial information for it to conform with

generally accepted accounting principles. A review consists principally of performing

analytical procedures and making inquiries of persons responsible for financial and

accounting matters. 116 A review should bring to the accountant’s attention significant matters

affecting the interim financial information.

         253.   In performing its review of Southern’s interim financial information, Deloitte

became (or should have become) aware of information that led it believe that Southern’s interim

financial information was not in conformity with GAAP. As such, Deloitte was required to make

additional inquiries or perform other procedures necessary to provide a basis for its communication

as to whether any material modifications to the Southern’s interim financial information were

required. These additional procedures would have revealed that material modifications to the

interim financial information were needed to confirm with GAAP and Deloitte should have

communicated that to Southern’s management and the Audit Committee. Had the management

and audit committee not responded appropriately within a reasonable time, Deloitte was required

to evaluate whether it should resign as Deloitte’s auditor. 117

         254.   In addition to understanding Southern’s processes, internal control and ongoing

reporting related to the Kemper Plant, Deloitte did (or should) have had access to other critical

information such as, project management reports, risk management reports, projected and actual

budgeting comparisons, reports from the Independent Monitor, and other documents reflecting




116
      Id.
117
      PCAOB AS 4105.29-.31

                                                   81
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 83 of 97




that Southern would not only fail to meet its May 2014 COD, but would incur a $6.2 billion in cost

overruns associated with the Kemper Plant that would be borne by its shareholders.

         255.     In violation of PCAOB Standards, Deloitte either failed to consider whether such

information was materially inconsistent with Southern’s interim financial disclosures, failed to

communicate that the information was materially inconsistent with Southern’s interim financial

disclosures, or failed to resign as Deloitte’s auditor. Nor did Deloitte notify the SEC or Southern’s

shareholders that the Company’s interim financial statements filed on Forms 10-Q did not comply

with GAAP, as it was required to do.

         256.     Finally, in violation of PCAOB, 118 Deloitte failed to appropriately respond to the

inconsistences identified above in Southern’s annual and quarterly reports. It did not disclose this

information, notify the SEC, or take any other action and continued to serve as Southern’s auditor.

         E.       Deloitte revealed relevant auditing procedures to the investing public for the
                  first time in February 2020.

         257.     Deloitte’s fraud was not discoverable until recently. In February 2020, facts relating

to Deloitte’s fraud became public thanks in part to new accounting procedures established by the

PCAOB concerning Critical Audit Matters. A Critical Audit Matter (“CAM”) is any matter arising

from the audit of the financial statements that was communicated or required to be communicated

to the audit committee and that:

              •   Relates to accounts or disclosures that are material to the financial statements; and

              •   Involved especially challenging, subjective, or complex auditor judgment.

Ex. A. See also PCAOB AS 3101, The Auditor’s Report on Audit of Financial Statements When

the Auditor Expresses an Unqualified Opinion.




118
      PCAOB AS 2201.

                                                     82
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 84 of 97




         258.   Auditors were previously required to determine whether there were any CAMs

when auditing financial statements and communicate those CAMs to the companies’ auditing

committees. However, the new PCAOB procedures required auditors to communicate CAMs in

their auditor reports. See Ex. A at 2. For each CAM communicated in an auditor’s report, the

auditor was required to:

         •   Identify the CAM;

         •   Describe the principal considerations that led the auditor to determine that the matter
             is a CAM;

         •   Describe how the CAM was addressed in the audit; and

         •   Refer to the relevant financial statement accounts or disclosures that relate to the

             CAM.

Id.

         259.   To be clear, the new PCAOB mandate requiring auditors to disclose CAMs in their

reports was in substance, the same as the required audit committee communications applicable to

Deloitte during its pre-2019 audits of Southern’s SEC reports. 119

         260.   The new CAM disclosure requirement was first effective during Deloitte’s audit of

Southern’s fiscal year 2019 annual report. In its 2019 auditor’s report dated February 23, 2020,

Deloitte disclosed for the very first time how it addressed critical audit matters relating to the

construction of major power plants, when it explained its evaluation of CAMs at another Southern

energy construction project, the Vogtle Nuclear Project expansion in Georgia for Southern’s

subsidiary Georgia Power. The Vogtle Project was ongoing during the same time frame as the

Kemper Plant.




119
      See generally PCAOB AS 1301.

                                                   83
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 85 of 97




       261.    Specifically, Deloitte identified that the ultimate recovery of Georgia Power’s

investment in the construction of Plant Vogtle Units 3 and 4 was subject to multiple uncertainties.

       As discussed in Note 2 to the financial statements, the ultimate recovery of Georgia
       Power Company’s (Georgia Power) investment in the construction of Plant Vogtle
       Units 3 and 4 is subject to multiple uncertainties. Such uncertainties include the
       potential impact of future decisions by Georgia Power’s regulators (particularly the
       Georgia Public Service Commission), actions by the co-owners of the Vogtle
       project, and litigation or other legal proceedings involving the project. In addition,
       Georgia Power’s ability to meet its cost and schedule forecasts could impact its
       capacity to fully recover its investment in the project. While the project is not
       subject to a cost cap, Georgia Power’s cost and schedule forecasts are subject to
       numerous uncertainties which could impact cost recovery, including challenges
       with management of contractors and vendors; subcontractor performance;
       supervision of craft labor and related craft labor productivity, particularly in the
       installation of electrical, mechanical, and instrumentation and controls
       commodities, ability to attract and retain craft labor, and/or related cost escalation;
       procurement, fabrication, delivery, assembly, installation, system turnover, and the
       initial testing and start-up, including any required engineering changes or any
       remediation related thereto, of plant systems, structures, or components (some of
       which are based on new technology that only within the last few years began initial
       operation in the global nuclear industry at this scale), any of which may require
       additional labor and/or materials; or other issues that could arise and change the
       projected schedule and estimated cost. In addition, the continuing effects of the
       COVID-19 pandemic could further disrupt or delay construction, testing,
       supervisory, and support activities at Plant Vogtle Units 3 and 4. The ultimate
       recovery of Georgia Power’s investment in Plant Vogtle Units 3 and 4 is subject to
       the outcome of future assessments by management as well as Georgia Public
       Service Commission decisions in future regulatory proceedings.

       Management has recorded charges to income, including a total of $325 million in
       2020, when it has determined that it is likely to incur costs for which it will not seek
       recovery or which it has concluded are probable of disallowance for ratemaking
       purposes. In addition, management has disclosed the status, risks, and uncertainties
       associated with Plant Vogtle Units 3 and 4, including (1) the status of construction;
       (2) the status of regulatory proceedings; (3) the status of legal actions or issues
       involving the co-owners of the project; and (4) other matters which could impact
       the ultimate recoverability of Georgia Power’s investment in the project. We
       identified as a critical audit matter the evaluation of Georgia Power’s identification
       and disclosure of events and uncertainties that could impact the ultimate cost
       recovery of its investment in the construction of Plant Vogtle Units 3 and 4. This
       critical audit matter involved significant audit effort requiring specialized industry
       and construction expertise, extensive knowledge of rate regulation, and difficult
       and subjective judgments.



                                                  84
         Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 86 of 97




        262.    Deloitte told Southern’s shareholders the steps it had taken to address the CAM

during its audit:

        •   We tested the effectiveness of internal controls over the on-going evaluation,
            monitoring, and disclosure of matters related to the construction and ultimate cost
            recovery of Plant Vogtle Units 3 and 4.

        •   We involved construction specialists to assist in our evaluation of Georgia Power’s
            processes for on-going evaluation and monitoring of the construction schedule and to
            assess the disclosures of the uncertainties impacting the ultimate cost recovery of its
            investment in the construction of Plant Vogtle Units 3 and 4.

        •   We attended meetings with Georgia Power and Southern officials, project managers
            (including contractors), independent regulatory monitors, and co-owners of the project
            to evaluate and monitor construction status and identify cost and schedule challenges.

        •   We read reports of external independent monitors employed by the Georgia Public
            Service Commission to monitor the status of construction at Plant Vogtle Units 3 and
            4 to evaluate the completeness of Georgia Power’s disclosure of the uncertainties
            impacting the ultimate cost recovery of its investment in the construction of Plant
            Vogtle Units 3 and 4.

        •   We inquired of Georgia Power and Southern officials and project managers regarding
            the status of construction, the construction schedule, and cost forecasts to assess the
            financial statement disclosures with respect to project status and potential risks and
            uncertainties to the achievement of such forecasts.

        •   We inspected regulatory filings and transcripts of Georgia Public Service Commission
            hearings regarding the construction of Plant Vogtle Units 3 and 4 to identify potential
            challenges to the recovery of Georgia Power’s construction costs and to evaluate the
            disclosures with respect to such uncertainties.

        •   We inquired of Georgia Power and Southern management and internal and external
            legal counsel regarding any potential legal actions or issues arising from project
            construction or issues involving the co-owners of the project.

        •   We monitored the status of reviews by the Nuclear Regulatory Commission to identify
            potential impediments to the licensing and commercial operation of the project.

        •   We compared the financial statement disclosures relating to this matter to the
            information gathered through the conduct of all our procedures to evaluate whether
            there were omissions relating to significant facts or uncertainties regarding the status
            of construction or other factors which could impact the ultimate cost recovery of Plant
            Vogtle Units 3 and 4.


                                                 85
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 87 of 97




       •    We obtained representation from management regarding disclosure of all matters
            related to the cost and/or status of the construction of Plant Vogtle Units 3 and 4,
            including matters related to a co-owner or regulatory development, that could impact
            the recovery of the related costs.

       263.    For the first time, shareholders were privy to what Deloitte’s own assessment of

what they were required to do to address critical audit matters relating to cost recovery associated

with large power plants under construction such as the Kemper Plant and Plant Vogtle projects.

Deloitte’s self-described requirements for conducting CAMs would cause Deloitte to know if

Southern’s internal controls necessary to ensure the Kemper Plant was completed on time and

within budget were inadequate. Southern’s internal controls were woefully inaccurate, and Deloitte

knew it, and Deloitte knew that Southern was falsely minimizing the losses and falsely overstating

its construction progress on the Kemper Project. Yet Deloitte, without qualifying its audit reports

and without reporting Southern’s lack of internal control, dribbled out these inaccuracies over

26 quarters, instead of giving investors accurate information about the extent of the problems so

they could make informed decisions regarding Southern stock. For example, Southern’s financial

statements, that Deloitte audited, recorded over $462 million in losses in a quarter, followed 90

days later by another $450 million loss to shareholders. After 18 quarters of disingenuously

spreading out nearly $3 billion dollars in losses, Southern was sued by certain shareholders for its

deceptive statements and omissions regarding the Kemper Plant. Only then did Southern and

Deloitte report the bulk of Southern’s remaining known losses—over $3.2 billion dollars—from

the Kemper Plant.

       F.      Deloitte’s false and misleading statements and omissions resulted in “no
               audit at all.”

       264.    Deloitte audited Southern’s financial statements included in the annual report on

Form 10-K for the class period years.



                                                 86
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 88 of 97




       265.    Deloitte issued an unqualified audit report on Southern’s financial statements

included in the Form 10-K. In it, Deloitte represented that (1) it had performed its audit of the

financial statements “in accordance with the standards of the Public Company Accounting

Oversight Board”; (2) it had planned and performed its audit “to obtain reasonable assurance about

whether the financial statements are free of material misstatement”; and (3) its audit provided a

“reasonable basis” for its reports. Deloitte further stated that Southern’s financial statements

“present fairly, in all material respects, the financial position” of Southern “in conformity with

accounting principles generally accepted in the United States of America. Specifically, Deloitte

stated the following:

       We have audited the accompanying consolidated balance sheets of Southern
       and subsidiaries (the “Company”) as of December 31, 2019 and 2018 [and 2017
       and 2016 and 2015 and 2014 and 2013] . . .

       Our audit of internal control over financial reporting included obtaining an
       understanding of internal control over financial reporting, assessing the risk that
       a material weakness exists, and testing and evaluating the design and operating
       effectiveness of internal control based on the assessed risk. Our audits also
       included performing such other procedures as we considered necessary in the
       circumstances. We believe that our audits provide a reasonable basis for our
       opinions.

       A company’s internal control over financial reporting is a process designed to
       provide reasonable assurance regarding the reliability of financial reporting and
       the preparation of financial statements for external purposes in accordance with
       generally accepted accounting principles. A company’s internal control over
       financial reporting includes those policies and procedures that (1) pertain to the
       maintenance of records that, in reasonable detail, accurately and fairly reflect
       the transactions and dispositions of the assets of the company; (2) provide
       reasonable assurance that transactions are recorded as necessary to permit
       preparation of financial statements in accordance with generally accepted
       accounting principles, and that receipts and expenditures of the company are
       being made only in accordance with authorizations of management and
       directors of the company; and (3) provide reasonable assurance regarding
       prevention or timely detection of unauthorized acquisition, use, or disposition of
       the company’s assets that could have a material effect on the financial
       statements.



                                                87
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 89 of 97




       266.    These statements were materially false and misleading when made because Deloitte

did not conduct its audit in accordance with the standards of the PCAOB (Section IV.B., supra).

Specifically, Deloitte failed to obtain persuasive and sufficient evidence to provide reasonable

assurance that the Kemper Project would be in service by a date certain and that Southern would

receive the Projected Tax Credits and other funds tied to the COD—to the contrary, Deloitte

obtained significant, material evidence that the Kemper Project would not be in service on time in

order to obtain the Tax Credits and other funding.

       267.    Even after the May 2014 COD came and went, and Deloitte knew that Southern

would incur substantial losses because it failed to meet the COD, Deloitte continued to issue the

same clean audits (and make the same false and misleading statements above) and hide the true

nature of the extent of those losses by permitting Southern to improperly leak those losses out over

26 quarters.

V.     SAFE HARBOR

       268.    To the extent any statutory safe harbor could possibly apply to auditors, Deloitte

knew that at the time each of the statements were made, the statements were false and misleading

concerning the schedule and costs of the Kemper Project.

VI.    PRESUMPTION OF RELIANCE

       269.    Lead Plaintiff is entitled to a presumption of reliance under Affiliated Ute Citizens

of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are predicated upon omission of material fact that there was a duty to disclose.

       270.    Lead Plaintiff and the Class are also entitled to a presumption of reliance on

Defendants’ material misrepresentations and omissions pursuant to the fraud-on-the-market

doctrine because, during the Class Period:

           a. Southern’s common stock was actively traded in an efficient market on the New

                                                 88
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 90 of 97




               York Stock Exchange, a highly efficient and liquid market;

           b. Southern’s common stock traded at high weekly volumes;

           c. As a regulated issuer, Southern filed periodic public reports with the SEC;

           d. Southern was eligible to file registration statements with the SEC on Form S-3;

           e. Southern regularly communicated with public shareholders by means of established

               market communication mechanisms, including through regular dissemination of

               press releases on the major news wire services and through other wide-ranging

               public disclosures, such as communications with the financial press, securities

               analysts and other similar reporting services;

           f. The market reacted promptly to public information disseminated by Southern;

           g. Southern securities were covered by numerous securities analysts employed by

               major brokerage firms who wrote reports that were distributed to the sales force

               and certain customers of their respective firms. Each of these reports was publicly

               available and entered the public marketplace;

           h. The material misrepresentations and omissions alleged herein would tend to induce

               a reasonable investor to misjudge the value of Southern securities; and

           i. Without knowledge of the misrepresented or omitted material facts alleged herein,

               Lead Plaintiff and other members of the Class purchased or acquired Southern

               securities between the time Defendants misrepresented or failed to disclose material

               facts and the time the true facts were disclosed.

       271.    Accordingly, Lead Plaintiff and other members of the Class relied, and are entitled

to have relied, upon the integrity of the market prices for Southern’s securities and are entitled to




                                                  89
          Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 91 of 97




a presumption of reliance on Defendants’ materially false and misleading statements and

omissions during the Class Period.

VII.      CLASS ACTION ALLEGATIONS

          272.   Lead Plaintiff brings this action as a class action pursuant to Rule 23(a) and (b)(3)

of the Federal Rules of Civil Procedure on behalf of all persons or entities who purchased,

acquired, or otherwise held Southern publicly traded securities from May 10, 2013 through

February 20, 2020, inclusive, and who were damaged thereby. Excluded from the Class are

Defendants and their families, the officers and directors and affiliates of Southern and Defendants,

at all relevant times, members of their immediate families and their legal representatives, heirs,

successors or assigns, any entity in which Defendants or Southern officers or directors have or had

a controlling interest, Southern’s employee retirement and benefit plan(s), and the legal

representatives, affiliates, heirs, successors-in-interest, or assigns of any such excluded person or

entity.

          273.   By virtue of their positions, Defendants had actual knowledge of the materially

false and misleading statements and material omissions alleged herein, and intended thereby to

deceive Lead Plaintiff and the other members of the Class, or, in the alternative, Defendants acted

with reckless disregard for the truth in that they failed or refused to ascertain and disclose such

facts as would reveal the materially false and misleading nature of the statements made, although

such facts were readily available to Defendants. Said acts and omissions of Defendants were

committed willfully or with reckless disregard for the truth. In addition, each Defendant knew or

recklessly disregarded that material facts were being misrepresented or omitted as described above.

          274.   Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As Southern’s outside

independent auditor throughout the Class Period, and having audited costs on the Kemper Plant,

                                                   90
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 92 of 97




Defendants had knowledge of the details of Southern’s internal affairs and progress regarding the

Kemper Plant. Deloitte knew, or was reckless in not knowing, that Southern’s reported annual

financial results for the fiscal years which were disseminated to the investing public, were not

presented in accordance with GAAP; and that the audits they conducted were not performed in

accordance with PCAOB Standards and, therefore, each of Deloitte’s unqualified audit reports

during the Class Period were materially false and misleading. As described above, Deloitte failed

to perform audits and reviews in accordance with accepted auditing principles and procedures.

       275.    All quarterly, annual filings, and registration statements filed on Form S-3 by

Southern with the SEC (on which the public relies) during the Class Period contained material

misstatements and omissions. Deloitte, Southern’s outside independent auditor throughout the

Class Period, failed to detect these discrepancies and irregularities, or to take reasonable actions

to correct them. Had Deloitte not violated PCAOB Standards, it would have detected the fraudulent

valuations and material misstatements in Southern’s financial statements during the Class Period.

       276.     As a result of Deloitte’s clean reports of Southern’s misstated financial reports and

Deloitte’s own false and misleading statements and omissions in its unqualified audit reports, the

market price of Southern’s securities were artificially inflated throughout the Class Period.

       277.    Lead Plaintiff and the other members of the Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated prices for Southern’s

securities. Lead Plaintiff and the other members of the Class would not have purchased Southern

securities at the prices they paid, or at all, if they had been aware that the market prices had been

artificially and falsely inflated by Defendants’ misleading statements.

       278.    By virtue of the foregoing, Deloitte violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder, and Section 17(a)(1)-(3) of the Securities Act.



                                                  91
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 93 of 97




       279.    For the reasons set forth herein, Deloitte is liable in whole or in part for the damages

suffered by Lead Plaintiff and to Section 10(b) and Section 17(a)(1)-(3) Class members.

VIII. CAUSES OF ACTION

                                          Count One
              For Violation of Section 10(b) of the Exchange Act and Rule 10b-5

       280.    Lead Plaintiff incorporates by reference each and every preceding paragraph as

though fully set forth herein.

       281.    During the Class Period, Defendants disseminated or approved the false statements

set forth above, which they knew or deliberately disregarded were false and misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

       282.    Defendants violated 10(b) of the Exchange Act and Rule 10b-5 in that they:

              a.     Employed devices, schemes, and artifices to defraud;

              b.     Made untrue statements of material facts or omitted to state material

                     facts necessary in order to make the statements made, in light of the

                     circumstances under which they were made, not misleading; or

              c.     Engaged in acts, practices, and a course of business that operated as a

                     fraud or deceit upon Lead Plaintiff and others similarly situated in

                     connection with their purchases of Southern securities during the class

                     period.

       283.    Defendants had actual knowledge of the materially false and misleading statements

and material omissions alleged herein and intended thereby to deceive Lead Plaintiff and the other

members of the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

in that they failed or refused to ascertain and disclose such facts as would reveal the materially


                                                  92
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 94 of 97




false and misleading nature of the statements made, although such facts were readily available to

Defendants. Said acts and omissions of Defendants were committed willfully or with reckless

disregard for the truth. In addition, each Defendant knew or recklessly disregarded that material

facts were being misrepresented or omitted as described above.

       284.    Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As Southern’s outside

independent auditor throughout the Class Period, Defendants had knowledge of the details of

Southern’s internal affairs. Deloitte knew, or was reckless in not knowing, that Southern’s reported

annual and quarterly financial results for the fiscal years ended December 31, 2013 through

December 31, 2019, which were disseminated to the investing public, were not presented in

accordance with GAAP; and that the audits they conducted were not performed in accordance with

PCAOB Standards and, therefore, each of Deloitte’s unqualified audit reports during the Class

Period were materially false and misleading. As described above, Deloitte failed to perform audits

and reviews in accordance with accepted auditing principles and procedures.

       285.    All quarterly and annual filings by Southern with the SEC (on which the public

relies) during the Class Period contained material misstatements and omissions. Deloitte,

Southern’s outside independent auditor throughout the Class Period, failed to detect these

discrepancies and irregularities, or to take reasonable actions to correct them. Had Deloitte not

violated PCAOB Standards, it would have detected the fraudulent valuations and material

misstatements in Southern’s financial statements during the Class Period.

       286.    As a result of Deloitte’s clean reports of Southern’s misstated financial reports and

Deloitte’s own false and misleading statements and omissions in its unqualified audit reports, the

market price of Southern’s securities were artificially inflated throughout the Class Period.



                                                 93
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 95 of 97




       287.    Lead Plaintiff and the other members of the Class have suffered damages in that, in

reliance on the integrity of the market and on Deloitte, they paid artificially inflated prices for

Southern securities. Lead Plaintiff and the other members of the Class would not have purchased

Southern securities at the prices they paid, or at all, if they had been aware that the market prices

had been artificially and falsely inflated by Defendants’ misleading statements.

       288.    By virtue of the foregoing, Deloitte violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder.

       289.    For the reasons set forth herein, Deloitte is liable in whole or in part for the damages

suffered by Lead Plaintiff and to Section 10(b) Class members.

                                          Count Two
                      For Violation of Section 17(a) of the Securities Act

       290.    Lead Plaintiff incorporates by reference each and every preceding paragraph as

though fully set forth herein.

       291.    By the conduct described above, Deloitte, directly or indirectly, in the offer or

sale of securities by the use of the means or instruments of transportation or communication

in interstate commerce or by use of the mails (a) knowingly or with sever recklessness

employed devices, schemes, or articles to defraud; (b) knowingly, recklessly or negligently

obtained money or property by means of any untrue statement of a material fact or any

omission to state a material fact necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; and (c) knowingly,

recklessly, or negligently engaged in such transactions, practices, or courses of business which

operated by fraud or deceit upon the purchaser.

       292.    Lead Plaintiff and the other members of the Class have suffered damages in that, in

reliance on the integrity of the market and on Deloitte, they paid artificially inflated prices for


                                                  94
        Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 96 of 97




Southern securities. Lead Plaintiff and the other members of the Class would not have purchased

Southern securities at the prices they paid, or at all, if they had been aware that the market prices

had been artificially and falsely inflated by Defendants’ misleading statements.

       293.    By virtue of the foregoing, Deloitte violated Section 17(a) of the Exchange Act.

       294.    For the reasons set forth herein, Deloitte is liable in whole or in part for the damages

suffered by Lead Plaintiff and Class members.

IX.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

           a. Declaring that this action is a proper class action and certifying Lead Plaintiff as a

               class representative under Rule 23 of the Federal Rules of Civil Procedure;

           b. Awarding compensatory damages in favor of Lead Plaintiff and the other Class

               members against all Defendants, jointly and severally, for all damages sustained as

               a result of Defendants’ wrongdoing, in an amount to be proved at trial, including

               interest thereon;

           c. Awarding Lead Plaintiff and the other members of the Class their reasonable costs,

               and expenses incurred in this action, including attorneys’ fees and expert fees; and

           d. Awarding such equitable/injunctive or other relief as the Court man deem just and

               proper.

X.     JURY DEMAND.

       Plaintiff hereby demands a trial by jury.




                                                   95
       Case 1:22-cv-00670-WMR Document 1 Filed 02/17/22 Page 97 of 97




Dated: February 17, 2022          GORDON BALL, LLC


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                                      96
